CaSe 6216-bk-OOJ_88-KS.] DOC 14 Filed 02/09/16 FPL§E§

Fi|| in ll\i$ inforni,jtmn in i¢i¢}i\lily your Ca‘z¢)'

  

D.,,,Wi~ NADNE ROUNDTREE rnoMsAcco» FEB - 9 2016
newa _ . ~ cLERK u.§. viii/i\\u<iiui=i'.cv.
_(Spouse,ifii|mg) Fiismame MiddieName n ORLANDO D|VlS\ON

 

Un`riod Siates Bankruptcy Court for the: Middle District of Florida

case number 16-bk~00188-KSJ i;l Check if this is an
-"f k“°"“‘ v amended filing

 

Official Form 106Sum
Summary of Vour Assets and Liabilities-and Certain Statistical lnformation 12/15
Be.asoomple¢e andaceuralie<as.possible~; lftwo»married~people'are filing together, both are equallyresponsible for supplying correct

inforrnation. Fill out all of your schedules first; then complete the information on this form. if you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 

 

msummarlze Your Assets

‘{our assets
Value of what you own

 

 

 

 

 

 

 

 

 

 

, 1. Schedule A/B: Prope Oflicial Form 106A/B
1 _ "y ‘ ’ s 143,000.00
1a. Copy iine 55l Total real estale,= from Schedule A/B .......................................................................................................... ----_-_
1b. Copy line 62, Total personal properiy, from Schedule A/B .......... . .................................................................................... $ 19,685-24
1c. Copy line 63, Total of all property on Schedule A/B ......................................................................................................... $ 162’685_24
msummarlze Your Llablllt|es
¥our liabilities
Amount you owe
_' 2. Schedule D.' Creditors Who Have Claims Secured by Property (Of|icial Form 1060) 233 571 55
2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D ............ 3 _______'_._._'__
3_ Sohedu!e E/F,' Creditors Who Have Unseoured Claims (Oflicial Form 106E/F) 0 00
3a Copy iiie totai claims from Part f (priofity unsecured claims) from iine 6e of Schedu{e E/F ............................................ $ `
3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F ....................................... + $ 12,846_00
vouriowi liabilities s 245»417-55
Summarlze Your Inoorno and Expenses
§ 4. Schedule l.' Your Income (Oflicia| Form 106|) 3586 00
Copy your combined monthly income from line 12 of Schedule l ................. z ....... z .......... g ........................... $ -------_-`--_
5. Schedui'e J.' your Expenses (Oflicial Form 1063
Copy your monith expenses from line 220 of Schedule J .................................................................................................... 5 2765'00

Oflicial Form 1068um Summary of Your Assets and Liabilities and Certain Statistical information page 1 of 2

 

 

 

Case 6:16-bl<-00188-KS.] DOC 14 Filed 02/09/16 Page 2 of 57
D.,,,,,°,, NADiNE ROUNDTREE TROMBACCO Casenumbw m 16-bk.00138-K3J
Fi'd

 

 

Nsme Middle Name tantName

Part 4 lilst film Questlons for Admlnlstmtlva and Stat|stlcal Reoords

 

6. Are you filing for bankruptcy under Chapters ?, 11, or 13?

n No. You have nothing to report on this part of the form. Check this box and submit this form to the court \M'th your other schedules

2 Yes

7. What kind of debt do you have?

Your debts are primarily consumer debts. Consumer debts are those "inourred by an individual primarily for a personal,
family, or household purpose." 11 U.S.C. § 101(8). Fill out lines 8-99 for statistical purposes 28 U.S.C. § 159.

m Your debts are not primarily consumer debts You have nothing to report on this part of the form. Check this box and submit
this form to the court with your other schedules

 

8» From the Statement of Your Current Manlhly lm:ome: Copy your total current monthly income from Oflicial
Form 122A~1 Line 11; OR, Form 1228 Line 11; OR, Form 1220~1 Line 14. $ 3586.00

 

 

 

 

9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

 

Total claim
From Part 4 on Schedule E/F, copy the following:

9a. Domestic support obligations (Copy line 6a.) 5 O'OO
9b. Taxes and certain other debts you owe the govemmerit. (Copy line 6b.) 5_________.______0£§,
9c. Claims for death or personal injury while you were intoxicated (Copy line Gc.) 5 000
9d. Student loans. (Copy line 6f.) $.__._______Q_‘.O_Q_
9e. Obligations arising out of a separation agreement or divorce that you did not report as 5 O_OO

priority claims (Copy iine Gg.) ___""“"_°'°`°
sr. Debis to pension or pronishanng pians, and other simiim devis. (copy line eh.) 4 s 0.00
sg. rossi Add lines sa through sr s 000

 

 

 

Oflicial Form 106Sum Summary of tour Assets and Liabilities and certain Statistical lnfomiation page 2 of 2

 

 

 

 

lied 02/09/16

Fill in this information to identify your case and this fliing:

NADINE ROUNDTREE TROMBACCO

First Narne Middle Name La§ Narne

Debtor 1

 

Debtor 2
(Spouse, f h|ing) Flrst N¢me

 

Middle Name

Urlited States Bankrupt::y Court for the: Middle District of Florida

16-bk-00188-KSJ

Case number

 

 

 

Official Form 106A/B
Schedule AlB: Property

 

Page 3 of 57

» - El checklf~lnisis an
amended filing

12115

 

ln each category, separately list and describe items. List an asset only once. lf an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possib|e. lf two married people are filing together, both are equally
responsible for supplying correct information. lf more space is needed, attach a separate sheet to this fon'n. On the top of any additional pages,

write your name and case number (if known). Answer every question.

m describe Each Res|donce, Bulldlng, Land, or other Roal Estate You Own or l'lava an lntarest ln

 

‘l. Do you own or have any legal or equitable interest in any residence, building, |and, or similar property?

Ci No. Go lo Pan 2.
g Yes. Where is the property?
--What is lthe'pr>operty? »Checl< all thatappl-y.
g Single~family home
n Duplex or multi-unit building
n Condominium or cooperative
0 'Manufactured or mobile home

11 6000 Millstream Drive

Strieet address, if available_. or other description

 

 

 

n Land
Groveland ix 34-736» § ‘“_"es‘"‘e"t"'°l’e“y
Cily Saie ZlP Code T'meshare

n Other

 

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Sohadulo D:
Cnedil'ors Who Have Claims Se`pured by Pmperfy.

Current value of the Current value of the
entire property? portion you own?

$ 156,000.00 $ 78,000.00

 

Describe the nature of your ownership
interest (such as fee simple, tenancy by
the entireties, or a life estate), if known.

Who has an interest in the property? Check one. Fee Simple

n Debtori only

n Debtor 2 only

»D-Debtor 1 and Debtor 2 only

M At least one of the debtors and another

Lake County
County

 

 

m Check if this is community property
(see instructions)

Other information you wish to add about this item, such as local

property identification number: Q] -22-2§-§10§-0§§@0§§1

lt you own or have more than one, list here;

What is the property? Check all that apply.
i:i Single-family home

n Dup|ex or multi-l.lnit building

n Condominium or cooperative

m Manufactured or mobile home

1_2_ 584- Robln cl

Street address, if available, or other description

 

 

 

'G'~L'and
Ap°pka FL 32712 § investment property
le¥ sale zlP code T""esha'e

n Other

 

Do not deduct secured daims `or exemptions Put
the amount of any secured claims on Sohedule D:
Credr'tors Wi'io H`ave Criilrns S`ecured`by Froperty.

Current value of the Current value of the
entire property? portion you own?
$\r v -67-,000.9_(1- $ 33,500-.00

Describe the nature of your ownership
interest (such as fee sirriple, tenancy by
the entireties, or a life estate), if known.

Who has an interest in the property? Check one. fee Simple

m Debtorl only

Cl Deblorz) only

El Debtor 1 and Debiorz only

g At least one of the debtors and another

Orange County
County

 

m Check ifthis is community property
(see instructions)

Other information you wish to add about this item, such as local

property identification number'. - - -

Ofticial Form 106A/B Schedule AlB: Property

page 1

 

 

Debtor 1

 

Fiid Name Middle Name

1_3_ 7706 Ferrara Ave.

 

Streat address, if available, or other description

 

 

 

' U Land
Orlando FL 32819 E investment property _ _
City Sme Z|P C°de n Timeshare pescnbe the nature of_your ownership
a interest (such as fee simple, tenancy by
Othe' the entireties, or a life estate), if known.
Who has an interest iri the property? Check one. Fee S'mp'e
r“
Orange "Ounty n Debtor1 only
C°umy ` n Debtor 2 only
a Debtor 1 and Debtor 2 only g chec_k if mi_$ is community Pr°Pel'ty
a At least one of the debtors and another (See 'nstm°t'°“$)
Other information you wish to add about this item, such as local
property identification number: - -
z. Add the dollar value of the portion you own for all of your entries from Part 1, inciuding any entries for pages $ 143,000.00
you have attached for Part 1. Write that number herie. ...................................................................................... -)

m Describe Your Vehicles

\Nhat is lhe property? Check all that apply.
n Sing|e-family home

n Duplex or multi-unit building

n Condominium or cooperative

m Manufactured or mobile home

 

_` s 63,000.00 $

NADiNE Ro©ueei@sb€ -bkc§ilié§§d€§~l DOC 14 Fil€€i OZJQ"§J,l(,§M,P@@-eidooi§s?i<sJ

L:st Na.me

 

Do not deduct secured claims on exemptions Put
the amount of any secured claims on Schedule D.’
Credi'tors Who Have Clei'ms Secured by Pmperty.

Cu rrent value of the Current value of the
entire property? portion you own?

31,500.00

 

 

 

 

 

 

 

 

Do you own, |ease, or have legal or equitable interest in any vehicles, whether they are registered or not? include any vehicles
you own that someone else drives |f you lease a vehicle, also reportith Schedule G: Execuroiy Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

n No
a Yes
3.1. Make: lnfiniti
Model: _E_X_3§______
Year: ~ 3028_
177000

Approximate mileage:

Other information:

 

 

 

 

lf you own or have more than one, describe here:

3_2_ Make: n/a

Mode|:
Year:
Approximate 'mileage:- 1 v

Gther information:

 

 

 

 

Ofticia| Form 106A/B

Who has an interest in the property? check one,

Debtor1 only

0 Debtor 2 only

n Debtcr 1 and DebtorZ only

n At least one of the debtors and another

n Check if this is community property (see
instnictions)

Who has an interest in the property? Check one.

n Debtor1 only

n Debtor 2 only

0 Debtor 1 and Debtor 2 only

n At'least'or\e ofthe' debtors~and another '

n Check if this is community property (see
instructions)

Schedule AIB: Property

Do not deduct secured claims at exemptions Put
the amount of any secured claims on Schedule D:
Creditors Who Hove Claims Secured by Property.

Current value of die Current value of the
entire property? portion you own?

$ 5,400.00 $ 5,400.00

 

Do not deduct secured claims or exemptions Put
the amount of any secured dairns on Schedule D:
Credilors Who ste Clai'ms Secured by Property.

Current value of the
portion you own?

Current value of the
entire property?

page 2

 

 

RMU§@\§'WRQMM¢@J DOC 14 Fil€chs§{,u,§R,Ll(§km)P@rQQ)l$oU1§§~KSJ

 

Who has an interest in the property? Check one.

Deblnr 1 NAD lNE
Fer Nime Middle Name 1351 Ngme
3.3_ Make: n/a
Model: n Debtor1 only
Ye r n DebtorZ only
a :

v Approximatesm_i|eage:

Other informations

 

 

 

 

3_4_ Make: n/a
Model: '
Year:
Approximate mileage:

Other information:

 

l

§
i
l

 

n Debtor tend Debtor 2 only

' .cl.At least one"of~!he debtors »and=another

l:l Check if this is community property (see
instructions)

Who has an interest in the property? Check one.

n Debtor1 only .

a Debtor 2 only

n Debtor 1 and Debtor 2 only

n At least one of the debtors and another

cl Check if this is community property (see
' insinrclion's)

 

Do not deduct secured claims o`r exemptions Put
the amount of any secured claims on Schedule D:
Creditors Who Have Clar`ms Secured by Property.

Current value of the Cu rrent value of the
entire property? portion you own?

5 0.00 $ 0.00

 

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D:
Creditars ero Have Clafrns Se¢umd by Property.

Current value of the Current value of the
entire property? portion you own?

$ o.oo 3 0.00

 

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Examples:. Boats‘ trailers.,»motors, personal.watercraft, lishing.vessels, snowmobiles, motorcycle accessories

mm ~
cl Yes

4.1. Make:
Model:
Year:
Other information:

 

l
l
l

 

lf you own or have more_than one, list here:

4_2v Make:
Model:
¥ear:

Other information:

 

5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
you have attached for Part 2. Write that number here ........................................................................................................................ ")

Officia| Form 106A/B

Who has an interest in the property? Check one.

n Debtor 1 only
g Debtor 2 only

' ~' El ~Debror 1 and oebrorz.onry

n At least one of the debtors and another

n Check if this is community property (see
instructions)

Who has an interest in the property? Check one.

n Debtor 1 only

n Debtor 2 only

L`.l Debtor 1 and Debror 2 only

\;l At least one of the debtors and another

n Check if this is community property (see
instructions)

Schedule AlB: Property

Do not deduct secured claims o`r exemptions Put
the amount of any secured claims on Schedule D:
Credr'tars Who Have Clsims Secured by Property.

Current value nfthe Currentvalue of'the
entire property? portion you own?

$ 0.00 $

 

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D:
Crsdi(ors Wha Have Clsims Secured by Propelty.

Current value of the Current value of the
entire property? portion you own?

0.00

148,400.00

 

page 3

 

 

 

 

 

Dewa N'AD'INE awaredecm DOC 14 Fil€dCQs§/nQ,Yb/e§§§kmfaea)k`lodr§§-KSJ~

 

 

F»rst Name M\ddte Name Las{ Name

Part 3: descrlbe ¥our Personal and l'lousehold ltems

 

Do you own or have any legal or equitable interest in any of the following items?

6. Household§ goods and fumishings
Examples: Major appliances, fum`rture, linens, china, ldtchenware

2 ves_ Descr;be,_,,____, Furniture, appliancesl misc. household goods

7. Electronics

Examples: Televisions and radios; audio, video, stereo, and digital equipment computers printers, scanners; music
collections; electronic devices including cell phones, cameras, media players, games

Current ya|ue of the
portion you own?

Do not deduct secured claims
or exemptions

$ 850.00

 

 

n No mm §
a Yes. Describe .......... § Computer, Ce|l Phone, TV § $ 265.00
8. Collectibles of value
Examples: Antiques and hgurines; paintings, prints, or other artwork; books, pictures, or other art objects;
stamp, .c.oin,' .or_ baseball card collections other-collections -memorabilia,'colleclibles

n ' No .e.. …“ -M\_ …§. .. , _ ., ,t _

2 Yes. Describe.......... Books and Pictures § $ 80.00
,,,,,, z

 

 

9; Equipment for sportsand~ hobbies

Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
and kayaks; carpentry too|s; musical instruments

D'No.

 

2 Yes. Descn'be .......... § Hand Too|s
10. Fireanns

Examples: Fistols, rities, shotguns, ammunition, and related equipment

No §.___._… .. ,, ..

11_ C|othes
Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories

D` No ms ….WW wh e…
2 ves. Describe..........§ Mlsc Clothlng

$ 35.00

 

12. Jewe|ry

Examples: Everyday jewelry, costume jewelry, engagement rings, wedding ringsl heirloom jewelry, watches, gems,
go|d, silver

[] No §,__ _ .. . . __ _,
a Yes. Describe .......... § Costume JeWe|W, Wedding band

 

13. Non-l'an'n animals
Examples: Dogsl cats, birds, horses

[:lNo .

$ 280.00

 

g Yes_ gesc,ibe_§____§§____§ 1. cat - 6. years old - got it free..

14.Any other personal and household items you did not already list, including any health aids you did not list

 

 

 

s ‘ 000

3 225.00

§ $_ 0_00

 

 

 

 

 

a No w
a §Yes. Give specilic $ O_OO
rnformatlon. ............. -_-----
15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached $ 1 735 00
.ror. Pan..a.wme.mar.numhernm '
Offrcia| Form 106AlB Schedule AlB: Property page 4

 

oewa NADrNE RQ#Q§T§E§'Y?§R©MW&¢S<$J DOC 14 Fil€dCQs§{§Q,$?b/g§kmw”,F’GlBEbl?-oiir§§-KSJ

Firsl Name Middle Name Last Name

Descrlbe Your Flnanclal Assets

Do you own or have any legal or equitable interest in any of the following?

 

 

Current value of the

 

 

 

 

 

 

 

 

 

 

 

 

 

 

portion you own?
Do not deduct secured claims
or exemptions
16.Cash
Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you i|e your petition
cl No
a yes ................................................................................................................................................................ Cash: _______________________ $ 35.00
17. Deposits of money
Examples: Checking, savings, or other linancia| accounts; certificates of deposit; shares in credit unions, brokerage houses,
and other similar institutions lf you have multiple accounts with the same institution, list each.
cl No
2 Ves ..................... |nstitution name:
17_1_ Checking account We"$ FarQO $ 59-00
17.3. Savings account Weus Fa|"go $ 33.00'
17.4. Savings account Central F|orida Postal Credit Union $ 10.00
17.5. cenircares of depose n/a $ 0.00
17.6. Other financial account n/a $ 0.00
17.7. Other financial account n/a $ 0.00
17.8. Other tinancia| account l'l/a $ 0.00
173 Other financial account I`l/a $ `O.'OO
18. Bonds, mutual funds, or publicly traded stocks
Examples: Bond funds, investment accounts with brokerage tirms, money market accounts
U` No
‘(es ................. |nstitution or issuer name:
Exxon / Mobil |nvestment P|an $ 2,596.69
0.00
0.00
19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
an LLC, partnership, and joint venture
a No Name of entity; % of ownership;
El Yes. Give specilic O% % _ $ 0.00
information about `
lhem ......................... O% % 0~00
o% % 0.00
Ofticial Form 106A/B Schedule AlB: Property page 5

 

 

 

...…, . ,,W.»,~v § \» »~ f ~ ' ,. o., , ~§, .. … ,., 1 ,§.\ _ ,..<,.§.,,.\,tt, s …… §/ .§ ,< ~,tt . `A§,u§,,

oewa NAomE R<§ifrir§r§!é§-lilrr©i)rb$&>t@~] DOC 14 Fi|€dCQg/,Q§Q,anFao%Sodiéé-KSJ

 

 

First Name Middle Name Last Name

20. Govemment and corporate bonds and other negotiable and non-negotiable instruments

Negon'able instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
Non-negotiab/e instruments are those you cannot transfer to someone by signing or delivering them.

No
g Y@S_ »GNe spedac issuer name:
information about

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

them ....................... 5 0`00
$ 0.00
$ 0.00
211 Remment' or pension’ accounts 4
Examples: lnterests in IRA, ERlSA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or prolit-sharing plans
a No
a Yes. List each
account separately Type of account lnstitution name:
401(»<) or similar part $ O-OO
' Pension plan: $ ' O'OO
iRA; $ 0-00
Retirementaccount $ O~OO
Keogh; $ 0.00
Addllional account $ 000 l
Addilional account $ 0.00
22. Security deposits and prepayments
¥our share of all unused deposits you have made so that you may continue service or use from a company
Examples: `Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
companies, or others
n No
Ei yes .......................... institution name or individual-.
Electric: $ 0.00
Gas: $ 0.00
Heating oil: $ 0.00
Security deposit on rental unit Property 1.2 " 584 Robin Ct. $ 650.00
Prepaid rent: $ 0.00
Telephone: $ 0.00
Waier. $ `O.'OO
Rented fumiture: $ 0.00
Other: $ 0.00
23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
a No
a Yes .......................... lssuer name and description:
Post Office Retirement (OPM - Annuity) 2,216.55
$ 0. 00
$ 0.00

thcial Form 106A/B Schedule AIB: Property

page 6

 

am ~§§»\,`»~,,§wr§'.ew.wm,»~§~t.»r,§~, =.,,,.Ww=,_»-.,~»

Debtor1 NADiNE Rd£ns§¥r§é-i=§-htn©tiib&$:df<$~] DOC 14 Fil€dcas§/,,u§,?b/el€ Paefbi&ovii§é'-KSJ

l' (rl' known)

 

First Name Middle Name Last Name

24.lnterests in an education |RA, in an account in a qualified ABLE program, or under a qualified state tuition program.

26 u.s.c. §§ 530(b)(1), 529A(b), and 529(b)(1).

a No
cl Yes ....................................

 

 

 

 

 

 

 

 

 

institution name and descnption. Separately tile the records of any interests.11 U.S.C. § 521(c)‘

 

 

 

1 .0-.00
0.00
0.00
25.Trus\s, equitable or future interests in property (other than anything listed in line 1), and rights or powers
exercisable for your benefit
n ¥es. Give specitic §
information about them....§ § $ 0'00
26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
Examples: ’|ntemet domain names, websites, proceeds from royalties and licensing agreements
a No _, r.
n Yes. Give speciiic §
information about them.... : O'OO
27. Licenses, franchises, and other general intangibles
Examples: Bui|ding permits, exclusive |icenses, cooperative association holdings, liquor |icenses, professional licenses
n No
a Yes. Give specitic § Ba§§ B°nds L§Cen$e
information about them.... 5 400.00
i
Money or property owed to you? Current value of the
portion you own?
'Do not deduct secured

28. Tax refunds owed to you
g No

 

 

 

ciaims or exemptions

 

 

n Yes. Give specific information § Fedara,, O_OO
about them, including whether i '
you already tiled the returns § Srate; 0-00
d th _ - . . _______________________ » l
an e m ypars § § Locai; $ 0.00
i…W ._e. §
29. Family support
Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settiement
No
n Yes Give specificinformation,., ,, v , ,
§ § Aiimony: $ 0.00
i § Maintenance: $ 0-00
§ § Support: $ O~OO
§ Divoroe settlement $ 000
i
§ Property settlement $ O'OO
30. Other amounts someone owes you
Examples: Unpaid wages, disability insurance paymentsl disability benelits, sick pay, vacation pay, workers’ compensation,
Social Security benefits; unpaid loans you made to someone else
3 N<> ,
2 Yes. Give specitic information ............... § Daughfer owes back payments on Properfy 1_3 : s 6 500 00
Official Form 106AlB Schedule AlB: Property page 1

 

 

 

Deb,c,n NAD~iNE R§ui$si€its§-bha@£il#§¢€ct§§~] DOC 14 FiledCQSZG/,Qu?ngielr€§"mi?a®bm@fg§?,<$¢

First Name Middle Name Last Name

 

 

31. interests in insurance policies
Examples: Health. disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance

.No

cl Yes. Name the insurance company

, _ _ Company name: Beneficiary: Surrender or refund value:
of each policy and list its value. ..

 

0.00

 

32. Any interest in property that is due you from someone who has died

if you are the beneticiary of a living trust, expect proceeds from a life insurance policyl or are currently entitled to receive
property because someone has died.

-No

m Ves. Give specitic information .............. §

 

 

 

 

 

 

' z
z
a § s O-OO
33_ Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Examples: Accidents, employment disputes, insurance claims, or rights to sue
a No ,..... ,.,…., ~.`,_,,, , .. _.,. ,W,.~.
a Yes. Descn'be each claim. .................... z § s O'OO
34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
to set off claims
a No
n Yes. Descnbe each claim .................... § z s 000
35.Any financial assets you did not already list
a NO § "§
n Yes. Give specitic information ............ 3 . . O. 00
36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
for Part 4. Write that number here .................................................................................................................................................... 9 $____1_2'55_0_£1

 

 

 

-Describe Any Business-Related Property You Dwn or Have -an interest ln. List any real estate in Part 'l.

 

37. Do you own or have any legal or equitable interest in any business-related property?
B _NQ. co to Part 6..
n Yes. Go to line 38.

Cun'ent .va|ue. of the
portion you own?
Do not deduct secured claims

 

 

 

 

or exemptions
38.Accounts receivable or commissions you already earned
ii NO , .
. §
n Yes. Descnbe ....... § :$ 01 00
39. Oftice equipment, fumishings, and supplies
Examplea' Business-related oomputer's, softwarel modems. printers. copiers, fax machines, rugs, telephones, desks, chairs, electronic devices
a No W_M
Cl ves. Descnbe ....... § §§ 0.00
‘ z _“_“__""“*_
Ofiicial Form 106AlB Schedule AlB: Property page 8

 

.,».,;Mv,,,m,q . »~`... `,- »,

ear t mae gm . ~_

newa NAD¢NE R@msee@-bmoueei§§a DOC 14 Filedpa;,/Qu?n;,l,§,m§a@sbi@@re§z<si

First Name Middle Name Lad Name

 

 

40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

MNo

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

n Yes. Describe ....... _ ()_00
'~41:-lnventory
cl Yes. Describe ....... § § 0.00
42.lnterests in partnerships orjoint ventures
g No,,..
n ves' Descnbe ''''' Name of entity: % of ownership:
% $ 0.00
% $_____QL
% $ 0.00
43. Custome'r»lists,»m?a`iling ?|ists,-oi'~-other compilations
g No §
n ¥es. Do your lists include personally identifiable information (as delined in 11 U.S.C. § 101(41A))?
n No
. § g
n Yes. Descnbe..,..... § § $ O§OO
44. Any business-related property you did not already list
a No
a §Yes. Giv§e specific $ 0_()0
information .........
$ 0.00
$ 0.00
5 0.00
$ 0.00
$ 0.00
45. Add the dollar value of all of your entries from Fart 5, including any entries for pages you have attached $ 0_00
for Part.S.-Write that number-here .................................................................................................................................................... ') "‘°_`°°_`_“°°
Descrlbe Any Form- and Commerclal Flsl\lng-Re|ated Property You own or Have an interest ln.
if you own or have an interest in farmland, list it in Part 1.
46. Do you own or have any legal or equitable interest in ari`y.farm- or commercial -fislring-related-’property?
E No. co w Part 7.
n Yes. Go to line 47.
Current value of the
portion you own?
Do not deduct secured claims
or exemptions
47_ Farm animals
Examples: Livestock, poultry, farm-raised fish
No
n Yes ......................... l n """" §
§ $ 0.00
i._._.e,..e,.../..….`..,…_._.w . ,,_..`._….....… …, …_ ,._._ ..»., , . _\ w ___"""""__'
Ofl'icial Form 106AlB Schedule AlB: Property page 9

 

.W,mm§:,,_ .r t - ;. `~ . …

Debtor1 NADiNE R©@$.®h'at@b*rr&§i&§§dé%] DOC 14 Fi|€d 92/09/16 Pa@§&%@i§e?KsJ

ase number (//knawn)
First Name Middle Name Lasi Name

 

48. Crops-either growing or harvested

a No F…

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

n Yes. Give specilic §
information ............. § 3 0- 00
49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
a 'No
cl Yes .......................... §
§ $ 0.00
50. Farrn and fishing supplies, chemicals, and feed
a No
am ~' ~~ ~
§§ $ 0.00
51 . Any farm- and commercial fishing-related property you did not already list
No §
n Yes. Give speciiic z § §
information ............. § $ 0.00
52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached $ 0,00
for Part 6. Write that number here .................................................................................................................................................... 9
Describe All Property You Own or Have an lnterest in That You Dld Not Llst Above
53. Do you have other property of any kind you did not already list?
Examples: Ssason tickets country club membership
g NO § ````````` W§ 000
n Yes. Give specitic §
information ............ § _j§ 0- 00
§ $ , 0. 00
54.Add the dollar value of all of your entries from Part 7. Write that number here ................................................................. 9 $ 0‘00
- List the Tota|s of Each Fart of this Form
55.Part1: Tota| real estate, line 2 .............................................................................................................................................................. 9 $ 143'000'00
56. Part 2: Total vehicles, line 5 $ 5’400'00
57. Part 3: Tota| personal and household items, line 15 $ 11735’00
58. Fart 4: Tot.a| financial assets, line 36 $ 1 2'550' 24
59. Part 5: Total business-related property, line 45 $ O'OO
60. Part 6: Tota| fami- and fishing-related property, line 52 $ O'OO
611Parir:»rotai~oa-re¢~pmperiynec.iisred,\ line-54 + $ O-OO
62. Tota| personal property. Add lines 56 through 61 . .................... § $ 19’685'24 Copy personal property total 9 + $ 19,685-24
iew`.'....~..¢... ,.,,.i.m.~“.~....,.“..,,.~»,M,_.,,,,`.~.,
63.Tota| of all property on Schedule AlB. Add line 55 + line 62 .......................................................................................... $ 162'685'24

 

 

Of‘fieial Form 106AlB Schedule AlB: Property

page 10

 

 

 

 

'€d 02/09/16 Page 13 Of 57

Fill in this information to identify your case;

mm NAD\NE RouNDTREE TROMBACCO

 

 

First Name Middle Name last Name

Debtor 2
(SPOU$¢S. if Eling) First Name Middle Name Last Name

 

United States Bankruptcy Court for the; Middle District of Flon`da

case number 16~bk'00188'K3J Cl check innis is an
(" k"°“'") amended filing

 

Oft'lcia| Form 1060
Schedule C: The Property You Claim as Exempt 12/15

Be as complete and accurate as possib|e. lf two married people are tiling together, both are equally responsible for supplying correct information.

Using the property you listed on Schedule A/B.' Property (Of§cial Form 106A/B) as your souroe, list the property that you claim as exempt. lf more
space is needed, till out and attach to this page as many copies of Part 2.' Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

 

 

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Altematively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions_such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds-may be unlimited in doltar amount. However, if you'claim an exemption of v‘tttb% affair market value under a tawthat
limits the exemption to a particular dollar amount and the value of-theproperty- is- determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.

m ldentl'l'y the l'roperty You C|alm as Exompt

 

1. Which set of exemptions are..you claiming? Check one only,.even r'f your spouse is filing wilh~you.

g You are claiming state and federal nonbankruptcy exemptions 11 U.S.C. § 522(b)(3)
m You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on Current value of the Amount of the exemption you claim Specific laws that allow exemption

 

 

 

 

 

 

 

 

Schedule A/B that lists this property portion you own

Copy the value from Check only one box for each exemption

schedule A/B
B,ie, _ Homestead - 222_01,
des°"`p”`°“f 00 l t e Dr $ 78'00°'°° 9 $ _O-D j222.02, 222.03, 222.05,
me from Z 100% afrair.mrket vaiue., up w . pconsmutign 1134l j
Schedule A/B'. 1 .‘i any applicable statutory limit
:;i;;npuon: :E[ l _ g . s 2216-55 a $ 000 222_14; ln re Pizzi, 153 B.R.

- a 100% of fair market value, up to

|;::ef;:;; A/B'. -23_ any applicable statutory limit
§j§;npu°n: Moth vehicle $ 5,400.00 n $ 180 103.00 ,m ,m
Line from n 100% of fair market value, up to _'
Schedule A/B_. 3 any applicable statutory limit

 

3. Are you claiming a homestead exemption of more than $155,676?
(Subiect to adjustment on 4/01/16 and every 3 years after that for cases tiled on or after the date of adjustment.)
a No
n Yes. Did you acquire the property covered by the exemption within 1,215 days before you tiled this case?

a No
n Yes

Of|icial Form 1060 Schedule C: The Property ¥ou Claim as Exempt page 1 of_

Debtor1

NADINE MNJWI§E§’H'|QSW<'§<§§ DOC 14 Fi'ede?s§é?n?§§e§§kmwnF@i%@oi§-t)di§e§-i<w

First Name Middle Name Last Name

Addltlonal Page

Brlet' description of the property and line
on Schedule A/B that lists this property

 

 

Current value of the
portion you own

Amount of the exemption you claim Speclflc laws that allow exemption

Copy the value from Check only one box for each exemption

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Schedule A/B
gre:;npuon; Pe’$°"a' P'° en $_.__._11735-00 Cl $____._O in re Hawkins, 51 B.R. 348
L§ne from 15 n 100% of fair market value, up to (S_D_ F|a_ 1985)
Schedule A/B; any applicable statutory limit
:;§;:dpdon_ Social Securit $ 219_00 g $ _ 5400 3586*00
Line from cl 100% of fair market value, up to d
Schedule A/B; ____ any applicable statutory limit
greise;ription' $ O'OO cl $ O'OO
Line from n 100% of fair market value, up to
schedule A/B; ___ any applicable statutory limit
§re:;ription' $ 0‘00 a $ 0'00
Line from n 100% of fair market value, up to
Schedule A/B; any applicable statutory limit
§;‘Se;dpnon__ $ 0.00 g $ 0_00
Line atom m 100% of fair market valuel up to
Schedule A/B_~ --_- any applicable statutory iimit
dB::;ription' $ O'OO cl $ 000
Line from a 100% of fair market value, up to
Schedule\A/B; °_““ any applicable statutory limit
geiser:ription' $ 0'00 m $ O'OO
une from n 100% affair market valuel up to
Schedule A/B; any applicable statutory limit
§Q;f,ip§on. 3 0.00 g $ 0.00
line from n 100% of fair market value, up to
Schedule A/B; __ any applicable statutory limit
dB::;ription' $ 0'00 n $ 0'00
mm nom m 100% affair market value, up to
Schedule A/B; ___ any applicable statutory limit
dB:secf:ription' $ 0‘00 0 $ O'OO
Line from m 100% of fair market value, up to
Schedule A/B; any applicable statutory limit
dB;i:r:ription‘ $ O'OO n $ 0'00
Line from n 100% of fair market value, up to
Schedule A/B_- ________ any applicable statutory limit
:::;ription' $ O-OO ij $ 0.00
Line from cl 100% affair market value, up to
Schedule A/B; ___ any applicable statutory limit

Official Form 1 OSC

Schedule C: The Property You Claim as Exempt

 

page 2__ of _

 

 

 

 

 

`|ed 02/09/16 Page 15 of 57

Fill in this information to identify your casc:

Debw,, NADiNE RouNDTREE TROMBACCO

Hr§ Name Middle Name Las! Name

 

Debtor 2 ;
(Spouse, ir friirrg) i=ire Name nude Name usi Name §

 

United Swtes Bankruptcy Court for the: Middle District of F|orida

Case number 16'bk'001 88'KSJ
mmm El check if this is an
amended ming

 

 

 

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property 12/15

Be as complete and accurate as possible. lf two married people are filing together, both are equally responsible for supplying correct
information.~ lf'more' space is'needed. copy the Additiorral Page, fill it out. number the entries, and attach it to this form. On the top of any
additional pagesl write your name and case number (if knownl.

 

 

1. Do any creditors have claims secured by your property?
a No. Check this box and submit this form to the court with your other schedules You have nothing else to report on this form.
g Yes. Fill in all of the information below.

List All Secured clalms

   
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Colilrlrn A _ Column C l
l 2 List all secured claims. lf a creditor has more than one secured claim, list the creditor separately mm°f¢l‘¢ ~ '» § ' y gamma
for each claim. lf more than one creditor has a particular ciaim, list the other creditors' in Part 2. " gm y ' m ' bn §
Do not deduction $"PP°'¢¥ P°¢f
As much as possible, list the claims in alphabetical order according to the creditor’s name. wind wm, y y gmm mm
123 NationStar Mortgage (status as Descnbeth Property that secures the ciaim: s 177i100-OO $ 156 000 00 21 100- 00
‘ °‘“'“°"_‘ "“‘“° §Homestead '
_ creditor unknown). §
Numver street §§ §
8950 Cypress Waters B|vd' As of the date you flle, the claim ls: Check all that apply. 1
; n Contingent
Coppe" TX 7501 9 E] Un|iquidated §
city stare ziP code a mspqu
'Wh° owes the debt? iika °'1€'» Nature of lien. Check all that apply.
a Debtor 1 °"1¥ v An agreement you made (such as mortgage or secured
cl Debtor 2 only car loan)
[;l Debtor1 and Debwr 2 only n Statutory lien (such as tax lien, mechanics lien)
§ n At least one of the debtors and another n Judgmant lien from 3 lawsuit
El oirier (inciuding a right in arisen
m Check if this claim relates to a §
community debt ;
§ Date debt waeincurred 09/01/1989 Last 4dlgits of account number_0 _2_ _"_1__ _i_ 5
§-*-§ Orange County Tax Coiiector oescr-ibeihe proper-rymer secures the ciaim: s 3003-00 s 67.000-00 s O~OO
f crediwr iu . v
s me §Rental - 584 Robin Ct
200 S. Orange Ave §
Num,,e, Sm, , investment Property, TlD 2013-2410
Suite 1600 As of the date you file, the claim ls: Check all that apply
a Contingent _
Ol'|ando FL 32801 n Un|iquidawd §
City sure ziPcode mr Dispuwd / §
Wh° owes the deb'¢? Check °n€~ Nature or iien. check ali mar appiy.
w Debw' 1 0"1¥ n An agreement you made (such as mortgage or secured
§ a Debtor 20nly mrioan)
` m Debror 1 and Debtorz amy q Statutory lien (such as tax lien, mechanics lien)
m At least one of the debtors and another n Judgmen'f lien from 9 lawsuit

; El omar (inciuding a right w arisen 0
§ n Check if this claim relates to a
community debt

§ , Daw debt W" incurred '12 '1_3 '14 ,,'-8_,81 4 d19118 81 §°°°“"1 "111!'1’8'__.. ___ ..,_... _, , , ,, l , ,, . .i l .
’ Addtt\edollar valule your entries in Column Aon thispage. Write that number here' li 180 103-00 §

L,.,.W. `_ W_.~,_.m.......e…..a…_ ,.,~_. . . .…, .- ….._ , .. . ., , …e

 

Oflicial Form 106D Schedule D: Creditors Who Have C|aims Secured by Property page 1 of _

 

 

    

Debtor 1

NADiNE R@é§®i@i`tk@'bii=&§iii§§d&§] DOC 14 F"€d 02/09/16 Pag§si<§)@ia:e?i<s.i

Case number (iikn<>wn)

 

First Name Middle Name

 

Last Name

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Mditi°"°' page gumnt;i " rain vsiuaz:sui ` unmn;i
. . . . . . . BW! 0 ~
After listing any entries on this page, number them beginning with 2.3, followed no mt l the ,' am umw hamm
by 2"’ a“d s° f°'th‘ value of cnlietaial. } claim itany v
1- Bank Of America. N-A- (Status 35 Describe the property that secures the claim: $ 491000'00 $ 631000'00 $ O‘OO
§ crs ‘ ‘ m Wm ...... `
1 c:;;'it;imunknown) E' l E" a mm
§ mm gm §BAC- ref 13-00377
177 Countrywide Way l _ _
§ As of the date you file, the claim is: Check ali that appiy.
Lancaster CA 93538 Ei contingent
§ va sets ziP code Cl uniiquidated
i- Disputed
§ Who owes the debf?¢Check one Nature or lien cheek aii inst appiy.
g Debt°' 1 °“|¥ m An agreement you made (such as mortgage or secured
n Debwr 2 only car loan)
§ n Debwr 1 and Debwr 2 only n Staiutcry lien (such as tax iian, mechanic’s lien)
Cl At isast one of me debtors and another n Judsmenf lien from a lawsuit
n Other(inoiuding a righttn offset)
g E] check ii this claim reiates to a
§ comm unity debt
: Date debt was incurred 02/12/1997 Last 4 digits of account number ___? __?__ _?_ _?_
,2'4 Cenfl'al F|Ol'ida POSfai CU Desciibe the property that secures the ciaim: $ 4’468'55 $ 51400-00 5 O~OO
Cred'lors Name t § `
§ 301 E. Michigan 81 -,2008 iniiniii i
§ Numbsr streei 1 i
As or the date you nie, the ciaim is: check aii inst appiy.
1 cl Contingent
§ Or|ando FL 32806 n unliquidated
Cify Stats ziP code n mspqu
§ who owes the debt? Check one' Natl.lre of lien. Check ali that apply.
g Debwr 1 only q An agreement you made (such as mortgage or secured
n Debtor 2 oniy mr loan)
0 Debwr 1 and Debwr 2 only i._.i sanitary iien (such as tax iien_ mechanics iisn)'
‘ U At least one of the debtors and another C] ,iudgmem lien from a lawsuit
cl Check if this claim relates to a m other (inc|uding a right w own
community debt
§ Date debt was incurred Last 4 digits of account number _2 _1_ __Q_ £_
Describe the property‘that secures the ciaim: $ 0' 00 $ O'OO 5 01 00
Cred'icr`s Narrie
Number Street
As of the date you file, the claim is: Check ali that apply.
u Contingent
1 city size ziP code El unliquidated
§ Ei Dispuisd
Who owes the debt? Check one. Nature of iien. check aii that appiy.
L_-l 091-1101 1 only l:l An agreement you made (such as mortgage or sewred
a Debtor 2 only ear loan)

i
i
§

 

1
i
i

 

 

 

 

 

 

n Debtor1 and Debtor 2 only
n At least one ofthe debtors and another

Ei check ii this claim reiates to a
community debt

Date debt was incurred

Add the dollar value of your entries in Column A on this page. Write'that number here: g 233,571 .55
if this is the last page of your form, add the dollar value totals from all pages.

Write that number here:
thcia|'Form 106D

Additionai Page of Schedule D: Creditors Who Have Claims Secured by Property

 

 

u Sialutiory lien (such as tax iien, mechanics lien)
n Judgment lien from a lawsuit
Ci 'ouis,r (inciuding s right to arisen

Last 4 digits of account number

233, 571. 55

 

page __ of

 

'¢-;w»n»ai,»-mm»w.~ ~ -. v ……… >. ...

aware

wm NADiNE R@Bh%hék%btl=@§i&§§d&§] DOC 14 F"ed SZ,/Quié,§nww§a$§i€x%@ie%?KsJ

 

 

 

First Name Middle Name Last Name ;
usc others w se harmed for a nom Thai You Aiready lasted
Use this page only lt you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection
agency ls trying to collectfrom you for a debt you owe to someone elae, list the creditor' in Part 1, and then list the collection agency here. Sim|larly, if §
§you have more than one creditor for any of the debts that you listed in Part 1 list the additional creditors here. if you do not have additional persons to § §
§be notified for any debts in Part 1. do not fill out or submit this page. §

E

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Name Last 4 digits of account number _ ____ ____ _
Number Sireet
City Swin Z|P Code

[:l On which line in Part1 did you enter the creditor?
Name Last 4 digits of account number __ _ ___ __
Number Street
city see ziP code

|:| On which line in Part 1 did you enter the creditor?
Name Last 4 digits of account number _ __ ___ ___
Number Sireet
city swan ziP code

l::| On which line in Part 1 did you enter the creditor?
Name Last 4 digits of account number ___ _ _ ___
Number Street
city Siave ziP code

[l On which line in Part1 did you enter the creditor?
Name Last 4 digits of account number__ _ __ ___
Number Street
City Stete Z|P Code

l:] On which line in Part 1 did you enter the creditor?
Name Last 4 digits of account number ,___ ____ ____
Number Sheet

Swte

 

City

Officl'a| Form 1060

Z|F Code

Part 2 of Schedule D: Creditors Who Have Claims Secured by Property

On which line in Part 1 did _you enter the creditor?

 

page _ o

§
;,

Fl|| ill this information to ldenti'l`y your i,.ise‘. d 02/09/16 Page 18 Of 57

  

lhwa NAD|NE ROUNDTREE TROMBACCO

Fllst Name ivinuie Name Lasi Name

 

DbeQl' 2
(Spcuse, 3 t'lling) First Name Middle Name Last Name

 

United Swtes Bankruptcy Court for the: Middle Disirict of F|orida

16-bk-00188-KSJ El Check if ihis is an
(ifkmwn) amended filing

Case number

 

 

 

Ofi'iciai Form 106ElF

Schedule ElF: Creditors Who Have Unsecured ¢laims 12115

Be as complete and accurate as possible Use'ParM 'forlcreditors with PRlORlT¥ claims and Part 2 for creditors with NONPRlORlT¥ clairlis.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts»on Schedule
A/B: Property (Official Form 106AlB) and on Schedule G: Executory Contracts and Unexpired Leases (Official For'rn 1066). Do not include any
creditors with partially secured claims that are listed iii Schedule D: Credl'tors Who Have Claims Secured by Property. |f more space is
needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
any additional pages, write your name and case number (if known).

 

 

m List All cf Your FR|DR|TY Unsecured Claims

 

’ 1. .Doany creditors have-pliority.unsecumd claimsagainst.you?
f C] No. colo Pali 2.
Yes.

: 2. List all of your priority unsecured claims. if a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For 2 §

` each claim iisted, identify what type of claim it is. if a claim has botl'l priority and nonpriority amounts, list that claim here and show bow priority and
nonpriority amounts As much as possible, list the claims in alphabetical order according to the creditor’s name. if you have more than two priority
unsecured claims. till out the Continuation Page of Part 1. if more than one creditor holds a particular claim, list the other creditors in Part 3.

(For an explanation ot»each type of.clai`m, see the instructions for this§femi in.the instruction booklet.)§ _
Toai»ciaim ¢ Prioilty‘ i ; Nonprierliy :
» ' l amount l ' amount ;

 

Wr~w<i~,~.».v,…, ~,» w ,-. ~… ;_,..~.<7 a irc §. wl il…i.t§ § s

 

 

 

 

 

 

 

 

 

 

 

 

 

 

2.1 .
Last4digits otaccount number _ _ _ _ 5 0 $ 0 3 0 ‘
Pn`orlty Creditor's Name ~
When was the debt incurred? ,
Number Street 1
As of the date you file, the claim is: Check ali that apply
city slate ziP code n C°"u"g°"t
_ El unliquidated
Who incurred the debt? Check one. n Dispu°ed
n Debtor1 only §
Cl never 2 only Type or PRioRiTY unsecured claim: §
g D°b'°' 1 and D°bwr 2 °"|y a Domestic support obligations
At least one of me debtors and ammar n Taxes and certain other debts you owe the government
n Check 'f th's dam 's for a commumty debt m Claims for death or personal injury while you were
ls the claim subject to offset? '"wx'°ated
ij N° Cl Oiher. specify
m Yes
122 l Last 4 digits of account number _ _ _ _ 5 0 s 0 5 0
`Priol’ly Credltor`s' Mme ;,
When was the debt incurred?
Number Street
As of the date you file, the claim is: Check all that apply ;
El conlingeni
city sale zlP code Cl unliquidated
Who incurred the debt? Check one. g Di$l°u\sd

Cl Debinr 1 only

a Deblnr 2 only

n Debtor1 and Debtor 2 only

n At least one of the debtors and another

Cl Check it this claim ls for a community debt

Type of PRlCRlT¥ unsecured claim:

a Domestic suppolt obligations

n Taxes and certain other debts you owe the government
n Claims for death or personal injury while you were

 

intoxicated
is tile claim subject w arisen El other specify
_E. No
l 9 Yes . w

thcial Form 106ElF Schedule ElF: Creditors Who Have Unsecured Claims page 1 of_

Debtor 1

NADlNE RQ§’MBE§S-PJBQMBA§QQ§J Dr)c 14 Filecl:@€il®®lldi@mn£é@£M_$J____

Firsl Name Middle Name Last Name

 

Your PR|OR|TV Unsecured C|alms - Contlnuatlon Page

 

l

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

. l :
. . . . , , v 5 l '
After listing any entries on this page, numberthem beginning with 2.3, followed by 2.4, and so forth. Total claim Priorlty . l Nonprlorlty
j l amount ` 1 amount
E 0
` Last 4digits of account number ___ __ ___ ___ 5 $ 0 $ 0
Prior'ity Cieditor's Name ;
When was the debt incurred?
Number Street
As of the date you tile, the claim is: Check all that appiy.
n Contingent
city stats zlP code U unliquidated
U Disputcd
Who incurred the debt?- Check-one
¥ medium only Type cr PRioRirY unsecured claim:
g :e:wr 12 °n;yDeb 2 1 cl Domestic support obligations
n Ae’ mr an t;r on y d n Taxes and certain other debts you owe the government
t east one of the ewers an amer a Claims for death or personal injury while you were
Cl check ii this claim is rcr a community debt '“‘”°"'°°*°"
Cl other specify
ls the claim subject to offset?
m No
n Yes
l0.0|
., c dm N Last4digitsofacccunt number _ __ _ ___ 5 0 5 0 $ 0
Prior'lly re ` r's ame
When was the debt incurred?
Number street
As of the date you file, the claim is: Check all that apply.
a Contingent
city stats ziP code C| unliquidated
Cl Disputcd
Who incurred the debt? Check one.
§ debtor 1 nnly Type cr PRloRlTv unsecured claim:
g De:r 2 ong/06 \ a Domestic support obligations
a De|e r1 an fm:t;r zbon y d the cl Taxes and certain other debts you owe the government
At est one o a ms an ana ' n Claims for death or personal injury while you were
0 Check lf this claim ls for a community debt '"t°x'¢°t°d
Cl other specify
|`s the claim subject to offset?)
_ El iic
~ a Yes
|0.0|
. P C v N Last 4 digits of account number _ ___ ____ ___ 5 0 5 o 5 0
riority rediw s ama
When was the debt incurred?
Number street
As of the date you file, the claim is: Check all that apply
m Contingerit
city slate zll= ends El unliquidated
El Dispuied

Who incurred the deb‘t? Check one.

Cl ncntcr-i only

g Debwr 2 only

Cl Debtor1 and Debtcr 2 only

n At least one of the debtors and another

Cl Check if this claim le for a community debt

ls the claim subject to offset?

n No
am ,. _

OfEcial Form 106ElF

Schedule ElF: Creditors Who Have Unsecured Claims

 

Type of P.RIORlT.Y unsecured claim:

Domesti'c support obligations
Taxes and certain other debts you owe the government

Claims for death or personal injury while you were
intoxicated

 

 

 

U DDU

Other. Specify

 

page __ of

 

Deb,,,,r NADiNE R _

Firg Name Middle Name Last Name

Lls! All of Your NONPR|OR|TY Unsecured Claims

oc 14 File@iaeai@airicwrpir§;hkéli>i§%liSJ

 

3. Do any creditors have nonpriority unsecured claims against you?

l:l No. You have nothing to report in this part. Submit this form to the court with your other schedules.

Yes

j 4. List all of your nonpriority unsecumd claims in the alphabetical order of the creditor who holds each claim. lf a creditor has more than one
nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
included in Part 1. lf more than one creditor holds a particular claim, list the other creditors in Part 3.lf you have more than three nonpriority unsecured

claims till out the Continuation Page of Part 2.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

f Tl?*¥l °l'.‘!.'.\,‘ j ,.
.E American Express Last 4 digits of account number_2 l _O__ 4_ 6 057 v
_ Nonpriority Creditor°s Name 3 ’

P 0 Box 650448 When was the debt incurred?

Number Street

Dal|as TX 75265

city sma ng C°d, As of the date you filel the claim is: Check all that app|y.

a Contingent

Who incurred the debt? Check one. 0 Un“quidawd

2 Dobwr 1 only El oispuied

El Dobior 2 only

Cl Debtor 1 and Debior 2 only Type of NONPRlORlTY unsecured claim:

n At least one of the debtors and another m Student loans

n check n this claim 18 for a community debt cl Obligations arising out cfa separation agreement or divorce

that you did not report as priority claims

lS the Claim Subjecf fO 01'\‘36!? a Debts to pension or profit-sharing plans, and other similar debts

m N° v Other. Specify Cl'edlt Card

n Yes

-2 Capital One Lasi 4 digits of oooourri number __4 _2 j l s 3,353 a

5 Nonpriority Creditor`s Name When WRS the debt incurred?

P.O. Box 71087

Number Street

Charlone NC 28272 As of the date you tile, the claim is: Check all that apply.

City state ZlF code a C°ntingem

who incurred the dam check ono. Cl Unliquidated

a Debtor 1 only n D'sputed

cl Debtor 2 only _

n Debt°r 1 and Debt°r 2 amy Type cf NONPR|OR|TY unsecured claim:

n At least one of the debtors and another 0 Student loans

_ _ _ cl Obligations arising out of a separation agreement cr divorce

L_.l Check if this claim is for a community debt mar you did mt report as priority claims

ls the claim subject to owen a Debts to pension or proht-shan`ng plans, and other similar debts

l] No U omer. specify Cl'edit Card

cl Yes
“8 HOme DepOt Last 4 digits of account number _j_ _Q __2_ __Q 950

wmaer Crediwr,s Name When was the debt incurred? s

P.O. Box 9001010

Number Street

l_ouisville KY 40290 _ _

any mm Z!p C°de As of the date you ile, the claim is. Check all that apply.

Who incurred the debt? Check one.

q Debtor 1 only

a Debtor 2 only

Cl oouior 1 and oooior 2 only

u At least one of the debtors and another

u Check if this claim is for a community debt

ls the claim subject to offset?
m No
n Yes

Ofncial Form 106Esz

a Contingent
El unliquidated
Cl Dispuiod

Type of NONPR|OR|TY unsecured claim:

m Student loans

n Obligaticns arising out of a separation agreement or divorce
that you did not report as priority claims

n Debts to pension or profit-sharing plans, and other similar debts

a other specify Credit Card

Schedule ElF: Cleditors Who Have Unsecured Claims

page _ of_

 

 

 

 

newa NADlNE R

Fer Nan‘e Middle Name Laa Name

 

oc 14 l=ileoireaioerrirem\r>ii§r§kz@@i§%lf$J

Your NONFR|OR|T¥ Unsecured Claims - continuation Page

 

After listing any entries on this pagel number them beginning with 4.4, followed by 4.5, and so forth. Total claim

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Home Depot l_actll digits or account number _Q__ _1__ § _1__ s 400
Nonpricriy Creditor's Name
d bt ' ?
P.O. Box 9001010 When was the e incurred
Number Street _ l
Louisvi"e Kv 40290 As of the date you tile, the claim is. Check all that apply.
city slate ziP code Cl contingent
El unliquidated
Who incurred the debt? Check one. n Disputed
a Debtor1 only
0 Debtor 2 only Type of NONPR|OR|TY unsecured claim:
g Debtor1 and Debtor2 only m Student|oans
At least one of the debtors and another cl Obligations arising out of a separation agreement or divorce that
n Check il this claim is for a community debt you d'd not report as pn°my c|.a'ms _ _
a Debls to pension or profit-sharing plans, and other similar debts
lo the claim subject to arisen d ether Sp.,dry Credlt Card
n No
n Ves
Lowes l Synchrony Bank Last 4 digits or account number § _1_ _6_ 1_ 5 600 t
Nonpriority Creditcr's Name
W en was the debt incurred?
P_o. Box 530914 h
Number street
As of the date u tile, the claim is: Ch k ll th t l .
Allanta GA 30353 ’° "° a ‘°‘ “"'°’
city State Z|P C°d° o Contingent
EJ unliquidated
Who incurred the debt? Check one. n Disputed
a Debtor1 only
n Debtor 2 only Type of NONPR|OR|TY unsecured claim:
m Debtor1 and Debtor 2 only n Studem|oans
a At least one of the debtors and shower m Obligations arising out cia separation agreement or divorce that
E] check irihic claim is for a community debt ’°" d'd "°t '°‘_’°" as p"°"" °"_""'s _ ,
cl Debts to penslon or profit-shaan plans, and other similar debts
ls the claim subject to offset? g either Spe¢ify Credlt Card
a No
n Yes
s 300
Macyrs Last 4 digits of account number __Q_ _8_ __6__ _1_
Nonprioriy Creditor‘s Name ed
When was the debt incurr ?
P.O. Box 78008
Number Street
. As of the date u tile, the claim is: Ch k ll th t l .
Phocnlx Az 85062 ’° °° a "‘ "“"”’
City State Z|P C¢d° a Conlingent
Cl unliquidated
Who incurred the debt? Check one. cl mspqu

a Debtor1 only

a Debtor 2 only

cl Debtor1 and Debtor 2 only

n At least one of the debtors and another

El check ir this claim is ior a community debt

ls the claim subject to offset?

n No
n Yes

Offlclal Form 106ElF

Schedule E/F: Creditors Who Have Unsecured Claims page _ of

Type of NONPR|OR|TY unsecured claim:

n Student loans

cl Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

cl Debts to pension or proiiteharing plans, and other similar debts

q outer specify Credlt Card

 

deem NAD*NE RQ%N£LTB§%_HB_QMBA§_C|`@H

Fira Name Middle Name Lasr Name

r)oc 14 Filedr:earoeinicmup:l@ib_*<z©@n$$ii<SJ

mYour NONPR|OR|T¥ Unsecured Claims - Continuatlon Fage

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forlh. 5 Toltalclaim

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

n Debtor1 only

n Debtor 2 only

Ei oebior i and Debtcr 2 only

n At least one of the debtors and another

n Check if this claim is for a community debt

ls the claim subject to offset?

E|Nc
DYes

thcial Form 106ElF

Target Card Services Last 4 digits of account number __Q__ __Q_ §_ _2__ $ 886
Nonpriol'ity Creditcr's Name '
P 0 Box 660170 When was the debt incurred?
Nu be s set
D';||ras v TX 75266 As of the date you flie, the claim is: Check a" that app|y.
city slate ziP code C.'l contingent
. El unliquidated
Who incurred the debt? Check one. g mspqu
a Debtor1 only
m Debtor 2 only Type of NONPR|OR|TY unsecured claim:
g Debtor1 and Debtor 2 only n Student loans
At least one of the ciawa and another n Obligations arising cut of a separation agreement or divorce that
Cl check ii this claim is for a community debt y°“ d'd “°t '°‘_’°“ as p"°"“' °"f“"‘s . _
a Debtstc pension or profit-sharing pians, and other similar debts
le the claim subject to crreet? g when epecify Credlt Card
m No
a Yes
Wajmart / Synchrony Bank Last 4 digits of account number i § 6_ 6_ $ 300 »
Nonprioriy Creditor‘s Name '
P 0 Box 530927 When was the debt incurred?
Number Street
As of the date u file, the laim is: Ch ok ll th t l .
Atianta GA 30353 y° c 8 a a app y
City state ziP code U contingent
. L`l unliquidated
Who incurred the debt? Check one. m Disputed
a Debtor1 only
U Debmr 2 only Type of NONPR|OR|TY unsecured claim:
Ci Debtor1 and oebtcrzcniy m Student loans
n At bag one of me debtors and another m Obligations arising out of a separation agreement or divorce that
n Check if this claim is for a community debt you d'd not raped as monty de'ms _ ,
n Debts to pension or prolit-channg plans, and other similar debts
ls the claim subject to offset? q given Spe¢ify Credlt Card
n No
m Vos
.__| $
Last 4 digits of account number ___ ___ _ __
Ncripr`lcriy Cred`itor's Name
When was the debt incurred?
Number S“eet As of the date you file, the claim is: Check all that apply.
City stale zlP code [] conungeni
Ci unliquidated
Who incurred the debt? Check one. a Disputed

Type of NONPR|OR|TY unsecured claim:

a Student loans

n Obligations arising out of a separation agreement or divorce that
you did not report as priority claims
cl Debts w pension or proflt~sharing plans, and other similar debts

Cl oiher. specify

Schedule ElF: Creditors Who Have Unsecured Claims page __ of___

 

miami NAD|NE ROHHQJ%EE€ -'BBN§?WH§O¢@Q] DOC 14 FileGa©iZi@©drl»@»wniPl§gBkN$t§a§\?SJ

Fiiat Name Middle Name

Part 3: List others to. Be Notl‘lled..About a.Dabt That ¥ou Alraady Llsted

; 5. Use this page only if you have others to be notihed about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For

f example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
2, than list the collection agency here. Simllarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
additional creditors here. lt you do not have additional persons to be notified for any debts in Parts 1 or 2, do not till out or submit this page.

 

On which entry in Part 1 or Part 2 did you list the original creditor?

 

 

 

 

 

 

 

 

 

 

 

 

 

 

      

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Name
Line of (Check one): Cl Pait 1: Creditors with Priority Unsecured Claims
N""‘b°' S"°°* U Part 2: Creditors with Nonpriority Unsecured Claims
Last 4 digits of account number __ _ ___ ___
°"Y , S°*° ._, l Z"°°°°° _. ._i, t v , , ,\ t ,. . w
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): n Part 1: Creditors with Priority Unsecured Claims
Numb¢' S“e°* El Part 2: creditors with Nonpriority unsecured
Claims
Last 4 digits of account number___ __ __
city state ziP code _
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): n Part 1: Creditors with Priority Unsecured Claims
N""'b°' S"°°* l:l Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of account number_
¢_‘*X \. k ,, t, , l t i_§*§!° ,,, .. ,, _.
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Chack one): n Part 1: Creditors with Priority Unsecured Claims
N“"'b°' s"°°* Cl Part 2: Creditors with Nonpriority Unsecured
Claims
_ Last 4 digits of account number_ _ _ _
city state ziP code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): 0 Part 1: Creditors with Prioiity Unsecured Claims
N“'“b°' Si'°°* L_.l Part 21 Creditors with Nonpriority Unsecured
Claims
Last 4 digits ofaccount number_ _ _ _
. v , ._i._.,§'#"° v . , Z'P C°°§ _ .' l , ,_..
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): U Part1: Creditors with Priority Unsecured Claims
N"'“b°' S"°°‘ 0 Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of account number___ ___ _ _
city sma ziP code
Name On which entry in Part 1 or Part 2 did you list the original creditor?
Line of (Check one): Cl Part 1: Creditors with Priority Unsecured Claims
Number Street . . . .
n Part 2: Creditors with Nonpriority Unsecured
Claims
City Sme Z,p code Last 4 digits of account number___ ____ ___ _
Official Form 106ElF Schedule ElF: Creditors Who Have Unsecured Claims page _ of__

 

imm~m~t.»t.~,_..mw,,¢,mm@-,.. k ~ ., view 'i~,,~ .

Debmm NADiNE R T _

Fir§ Name Middle Name Last Name

mAdd the Amounts for Each Type of Unsecured Clalrri

oc 14 Filecbeei®eiiiemiaé§M§%-ESJ___

 

6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
Add the amounts for each type of unsecured claim.

Total claims
f from Part 1

' 'roiaiciaims
, from Fart2

Ofi`icial Form 106ElF

6a.

6b.

60.

6d.

6e.

Sh.

Si.

Domestic support obligations

Taxes and certain other debts you owe the
government

Claims for death or personal injury while you were
intoxicated

Other. Add all other priority unsecured claims.
Write that amount here.

Total. Add lines 6a through 6d.

. Student loans

. Obligations arising out of a separation agreement

or divorce that you did not report as priority
claims

Debts to pension or profit-sharing plans, and other
similar debts

Olher. Add all other nonpriority unsecured claims.
Write that amount here.

6j. Total. Add lines 6f through 6i.

6e.

6b.

60.

6d.

6e.

6f.

69.

6h.

6i.

sj.

 

 

 

 

 

Total claim
s 0.00
s 0.00
$ 0.00
+ $ 0.00
5 0.00
Total claim
s 0.00
s 0.00
s 0.00
+ $ 12,846.00
3 12,846.00

 

 

 

Schedule ElF: Creditors Who Have Unsecured Claims

page __ of ___

 

~ ed 02/09/16 Page 25 Of 57

  

Fill iii this information to identify your caise:

Debw, NADiNE RouNDTREE TROMBACCO

First Name Middle Name Last Name

 

Dabtior 2
(Spouse ll filitlg) Fir§ Name Middle Name Last Name

 

United States Bankruprtcy Court for the; Middle DiStriCt Of F|Orida

16-bk-00188-KSJ
?§:§°3:§"*' Cl check ii this is an
amended filing

 

 

Ofiicial Form 1066
Schedule G: Executor'y Contracts and Unexpir'ed Leases 12)15

Be as complete and accurate as possible. lf two manied people are filing together, botti are equally responsible for supplying correct
information. lf more space is needed, copy the additional page, fill it out, number the entiies, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

 

 

1. Do you have any executory contracts or unexpired leases?
Cl No. Check this box and tile this form with the court with your other schedules You have nothing else to report on this form.
a ¥es. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B.' Property (Oflicia| Form 106A/B).

2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (tor
example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
unexpired leases.

 

Person or company with whom you have the contract or lease State what the contract or lease is for
,'2_,-1,5 Robin Reni month io month
' Name

 

Number Street

 

city sine ziP code

» ..…. , …i._r»,»,/_i '

'2.2;

 

Name

 

Number Straet

 

C'*v S*H‘P .\,W_Z,'P C°_dP v
2.3'

 

Name

 

Number Streat

 

C"¥ ,. S“ZY Z'PC?S‘_?._.

 

52.4§

 

Name

 

Number Street

 

,C.'F*.¥ 1 _ .$‘”F° Z'PC°F’°
j2.5_;

b Name

 

 

Number Street

 

City State Z|P Code

Oflicia| Form 1066 Schedule G: Executory Contracts and Unexpired Leases page 1 of__

 

 

newa NADiNE R&:ii$i§“r§éé§'bihBQ/ib%§:t$§~] DOC 14 F"€d 02/09/16 P@i%§b@@c$iie§l<sJ

Case number irmwn)
First Name Middle Name Last Name

 

- Addltional Page lf You Have More Contracts or Leases

person or company with whom you have the contract or lease What the contract or lease is for

§22§

 

Name

 

Number Street

 

Shate Z|P Code

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Name

Number Street

City State Z|P Code
Name

Number Street

City Si:ale Z|P Code
Name

Number Street

City State Z|P Code
Number Street

City State Z|P Code
Number Street

City Swte ZlP Code
Number Street

City State ZiP Code

 

 

Name

 

Number Street

 

 

_,S'a,“°, ,,_Z'F’C°d€…,,___ o ., _

 

 

Ofiiciai Form 1066 Schedule G: Executory Contracts and Unexpired Leases page _ of _

W.szrs~me.wq-¢w,w ~'-~ '~' ~'»»'~ '- ' v ~/ ~ ~‘ ...,,.,.(~

' d 02/09/16 Page 27 Of 57

  

Fill in this information to identify your case;

Debtor1 NADlNE ROUNDTREE TROMBACCO

Fim Name Middle Name Last Name

Debtol’ 2
(SpOuSe, W fllll’\g) Fer Name Middle Name

 

United Statas Bankmptcy Court for the; Middle District of Florida

case number 16-bk-00188-KSJ

{lf known)

 

iI| check if this is an
amended filing

 

Oflicial Form 106H
Schedule H: Your Codebtors 12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. lf two married people
are filing together, both are equally responsible for supplying correct infon'nation. if more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Peges, write your name and
case number (if known). Answer every question.

 

 

1. Do you have any codebtors? (if you are liling a joint case, do not list either spouse as a codebtor.)

m No
g Yes

2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
Arizona, Califomia, ldaho, Louisiana, Nevada, New Mexico, Pueito Rico, Texas, Washington, and Wisconsin.)

n No. Go to line 3.
cl Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

MNO

Ll Yes. |n which community state or territory did you live? . Fill in the name and current address of that person.

 

Name of your spouse, former spouse, or legal equivalent

 

Number Stroet

 

Cly State Z|P Code

3. ln Column 1, list all of your codebtor's. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
shown in line 2 again as a codebtior only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
Schedule D (Ofl"rcial Form 1060), Schedule E/F (Official Form 108E/F), or Schedule G (Ofticial Form 1066). Use Schedule D,
Schedule E/F, or Schedule G to fill out Column 2.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Column 1: ¥ourcodebtior Column 2: The creditor to whom you owe the debt
Check all schedules that apply:
3.1
N?:eug|as Trombacco g Schedule D, line 2-1`, 2-2§ 2-3
6000 Miiisiream Dr Cl Schedule E/F. iine____
Number Slraef 1 g Schedule G, line
Groveland F|orida 34736
cry sma ziPcode
3'2 Ra uel S atcher
Nameq P i schedule D, line 2.3
7706 Ferrara Ave. l:l Schedule EJF, line
Numb°' s"°°* n Schedule G. line _4`*
Or|ando F|orida 3281 9
ciiy saw ziP code
3.3
U Schedule D. line
Name __‘
a Schedule E/F, line
N“'“b°' S*'°°' U Schedule G, line
city sims zipeon

Oflicial Form 106H Schedule H: Your Codebliors page 1 of__

 

canon NADlNE R§Qh®i@nk@~btr&$id§§d‘é§] DOC 14 Fi|€dg)

 

First Name Middle Name

Last Name

Z.!Qt?ni,%,§mt§ GMSO@T §B?KSJ

 

 

-Additional Page to List More Codebtors

Column 1.' Your codebtor

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Column 2.' The creditor to whom you owe the debt

Check all schedules that apply:

cl Schedule D, line

Name
. El schedule E/F, line
z Number street EJ schedule c,iine
cry ,, H , state zlP,ccdc_ w
m Schedule D, line
Name _*__
EJ schedule E/i=, line
Number street m Schedule G, line
f v cry state v l ziP ccde
§ n Schedule D, line
~ Name --_-
E.°.l schedule E/F, line
Number Street a Schedule G, line
y city state ziP code
§ Cl Schedule D, line
Name __
` Cl Schedule E/Fl line
Number street n Schedule G, line
§ .C*y .Sete, ZlP,Co~ie_ ,_ .
m Schedule D, line
Name ' ' ”'
Cl Schedule E/F, line
Number street [:.l Schedule G, line
~ city state {_ ziP code y
g Cl Schedule D, line
Name _'
Cl Schedule E/F, line
Number Street cl Schedule G, line
" city state ziP ccdc y
§ ill schedule D, line
, Name __-
Cl Schedule E/F, line
Number street cl Schedule G, line
E civ wis , ziP code
5 El schedule D, line
Name '_’_°""
Cl schedule E/l=, line
Number street Cl Schedule G, line
city slate zll= code

 

Off`lcia| Form 106H

Schedule H: ¥our Codebtors

page ____ of _

 

Case 6:16-bl<-00188-KS.] DOC 14 Filed 02/09/16 Page 29 of 57

Fll| ln tllls information to identify yollrcase:

  

oewa NADlNE RouNDTREE TROMBACCO

Firs! Name Middle Name Last Narm

 

Debtor 2
(Spouse, if tiling) Flret Name Middle Name

 

United States Bankruptcy Court for the; Middle District of Florida

case number 16"3'<'00188'*(3~' Check if this is:

umw/nl
n An amended filing

a A supplement showing postpetition chapter 13
income as of the following date:

OffiCial FOl`lTl 106| m

Schedule |: Your income me
Be as complete and accurate as possib|e. lf two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. if you are married and not tiling jointly, and your spouse is living with you, include information about your spouse.

lf you are separated and your spouse is not filing with you, do not include information about your spouse. lf more space is needed, attach a
separate sheet to this fonn. On the top of any additional pages, write your name and case number (if known). Answer every question.

mimsch Emp|oyment

 

 

1. Fill in ur em loyment
` inform¥a.tion. p Debtor 1 Debtor 2 or non~filing spouse

|f you have more than one job,

attach a separate page with
information about additional Emp'°¥me"t stems n Emp'°yed n Emp'°¥ed
employers a Not employed n Not employed
include part-lime, seasonal, or
self~employed work. .

occu patino Retlred

 

Occl.lpation may include student
or homemaker, if lt applies.

Emp|oyer's name

 

Employer's address

 

Number $treet Number Street

 

 

 

City Stale Z|P Code City Sfate Z|P Code

How long employed there?

 

Give Dota|ls About Monthly lncoma

Estimate monthly income as of the date you tile this form. lf you have nothing to report for any line, write $0 in the space. include your non-iling
spouse unless you are separated

lf you or your non-nling spouse have more than one employer, combine the information for all employers for that person on the lines
below. lf you need more space, attach a separate sheet to this form.

For Debtor 1 For Debtor 2 or
non-filing spouse

2. List monthly gross wages, salary, and commissions (before all payroll

deductions). lf not paid monthly, calculate what the monthly wage would be. 2. $ 0_00 $ 0_()0
l 3. Estimate and list monthly overtime pay. 3_ + $ 0.00 + $ 0.00

 

4. Calculate gross income. Add line 2 + line 3. 4. $ O-OO $ 0.00

 

 

 

 

 

Ofticial Form 106| Schedule l: Your income page 1

 

 

Deb,m NADlNE R%@§‘%@'lE TRE fiE--b§§g 1§§&%1 Doc 14 i=ilecl 02/09/16 Pa

Case number (rkncwn)

 

 

 

 

 

 

 

 

 

9§)0§<903‘; 567- i<s.i

 

 

 

 

 

 

 

 

 

 

 

First Name Middle Name Last Name
For Debtor 1 For Debtor 2 or
n i' use
Copy line 4 here ............................................................................................... 9 4. $ $
5. List all payroll daductions:
5a. Tax, Medicare, and Social Security deductions Sa. $ 0.00 $
5b. Mandatory contributions for retirement plans 5b. $ 0.00 $
5e. Voiuntary contributions for retirement plans 50. $ 0.00 $
5d. Required repayments of retirement fund loans 5d. $ O-OO $
5e. insurance 5e. $ O-OO $
5f. nomeetic support obligations 5f. $ 000 $
59. Union dues Sg. $_M 3
5b. Other deductions. Specify'. 5h. +$ 0.00 + $
et Add the payroll deductions Add lines 5a + 5b + se + sd + se +5f + sg + 5h. 6. $ 0.00 $
7. calculate total monthly take-home pay. subtract line s from line 4_ 7. $ 0.00 $
8. List ali other income regularly received:
Ba. Net income from rental property and from operating a business,
profession, or fann
Attach a statement for each property and business showing gross
receipts, ordinary and necessary business expenses, and the total 1 150 00 $
monthly net income. 8a. __‘__'__
8b. interest and dividends 8b. $ 0.00 $
8c. Famiiy support payments that you, a non-tiiing spouse, or a dependent
regularly receive
include alimony, spousal support, child suppoit, maintenance, divorce $ 0 00 $
settiement, and property settlement, 8c. ___"__
'Sd. Unemployment compensation Sd. $______O£Q $
8e. Social Security 8e. $ 219.00 $
Bf. Other government assistance that you regularly receive
include cash assistance and the value (if known) of any non-cash assistance
that you receive, such as food stamps (benetits under the Supplemental
Nutrition Assistance Program) or housing subsidies
Spedfy: sf. $_____Q-_O_O_ $
89. Pension or retirement income Bg. $ 2,217.00 $
8h. Other monthly income. Specify: Bh. +$ 0.00 + $
9. Add eli other incerne. Add lines se + ab + se + ad + se + st +ag + sh_ 9. $ 3,586.00 $
10.Cal6ulafe monthly income. Add llne 7 + lln€ 9. n _ $ 3,58600 + $ = 3,58600
Add the crimes in line 10 for Debtor 1 and Debtor 2 or non-tillng spouse 10. ~_--- __-'_'_~_
l 11. State ali other regular contributions to the expenses that you list in Schedule J.
' include contributions from an unmarried partner, members of your househoid. your dependents, your roommates, and other
friends or relatives.
Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
Specify: 11_ + $ O.CO
,12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income. 3 586 00 l
Write that amount on the Summary of Your Assets and Liabl'I/`ties and Certai'n Statistr'cal lnformation, if it applies 12. .___.'____'___
Combined
monthly income
y 13. Do you expect an increase or decrease within the year after you file this form?
g No.
l:l Yes. Explain:

 

Official Form 106|

Schedule i: Your income

page 2

 

 

 

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Fill in this information to identify your casc:

Debiicr 1 NADlNE ROUNDTREE TROMBACCO

F'rsr Name Middle Name met Nerne Check if this lsi

 

Debwr 2 Cl An amended filing

(Spou$i, if il'hg) First Name Middle Name Last Name
cl A supplement showing postpetition chapter 13
expenses as of the following date:

 

lJniiled States Bankruptcy Court for the: Middle DlSt|'lCt Of Florida

Case number 16-bk-00188-KSJ

(lfknovm) MM / DDI YYYY

 

 

 

Official Form 106J
Schedule J: ¥our Expenses wis

Be as complete and accurate as possibie. if two married people are filing together, both are equally responsible for supplying correct
information. if more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

m Dascribe Your I'lousohoid

1. is this a joint case?

g No. Go to line 2.
Cl Yes. Does Debtor 2 live in a separate household?

n No
El ‘(es. Debtor 2 must tile Ofliciai Form 106J-2, Expenses for Separate Housahold of Debtor 2.

 

 

 

 

 

 

 

 

 

 

 

2. Do you have dependents? g No
Dependent‘s relationship tlo Dependent’s Does dependent live
DO ¥'lOt list Debtof 1 and n Yes_ Fill out this information for Debf°l' 1 0|' Debwl’ 2 age Wllh you?
Debtor 2. each dependent ..........................
, n No
Do riot state the dependents n
names. ves
n No
l:l Yes
Cl No
n Ves
n No
l:l Ves
m No
l:l Ves
3. Do your expenses include g No
expenses of people other than

t, v,lr<>..ti',e=.isttftmtlawr_l¢l.t#l».st'¢_i‘i."t=z?_, ,._C.' Y¢S..

m Estimate Your Ongolng illlonthly Expenses

Estimate your expenses as of your bankniptcy filing date unless you are using wis form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. if this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

include expenses paid for with non-cash government assistance if you know the value of

 

such assistance and have included it on Schedule I.' Your Income (Officiai Form 106|.) V°\" expenses
4. The rental or home ownership expenses for your residence. include iirst mortgage payments and 1 468 00
any rent for the ground or lot. 4. $ 1 l

if not included in line 4:

4a. Real estate taxes 43_ $ 102.00
4b. Property, homeowner’s, or renter’s insurance 4b_ $ 0.00
4c. Home maintenance, repair, and upkeep expenses 4c. $ 94.00
4d. Homeowner’s association or condominium dues 4d. $ O-OO

Oflicial Form 106J Schedule J: Your Expenses page 1

 

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Debtor1 NADlNE ROUNDTREE TROMBACCO case number (,k,,,,w", 16-bk-00188-KSJ
i-'r`rst Name Middle Name bad Name
Your expenses
5. Additional mortgage payments for your residence, such as home equity loans 5. $------_2-7-§9-0-
6. Utilities:
6e. Electricity, heat, natural gas ea. $ 64.00
6b. Water, sewer, garbage collection 6b. $ 4.00
6e. Telephone, cell phone, lnternet, satellite, and cable services 6e. $ 66.00
6d. Other. Specify: ed_ $ 0.00
7. Food and housekeeping supplies 7_ $ 305.00
B. Chiidcare and children’s education costs 8. $ 3586.00
9. Clothing, laundry, and dry cleaning g. $ 6.00
10. Persona| care products and services 10, $ B.OO
11 Medical and.,dental.expenses 11, $ 5.00
12. Transportation. include gas, maintenance, bus or train fare. $ 1 1000
Do not include car payments 12.
13. Entertainment, clubs, recreation, newspapers, magazines, and books 13. $ 0'00
14. Charitable contributions and religious donations 14_ $ 220.00
15, lnsuraaee..
Do not include insurance deducted from your pay or included in lines 4 or 20.
152. Life insurance 158, $ 0.00
15b Health insurance 1511 $ 0.00
15c. Vehic|e insurance 15c. $ 88.00
»15d. Other insurance$pecify: 1541 $ 0.00
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
Specify: 16_ $ 0.00
17. installment or lease payments:
17a. Car payments for Vehlcle 1 17a $ 264.00
17b_ Car payments for Vehlcle 2 17b. $ O~OO
17c4 Other. Specify: 17c_ $ O-OO
17d. Other. Specify: 17d_ $ 0.00
18. Your payments of alimony, maintenance, and support that you did not report as deducted from
your pay on line 5, Schedule l, Your Income (Official Form 106|). 18. `$ 0_00
19. Other payments you make to support others who do not live with you,
Specify: 19_ $ O_OO
20. other real property expenses not included in lines 4 or 5 of this form or on Schedule l: Your lncome.
20a. Mortgages on other property 201 $ 0.00
20b. Real estate taxes 20b. $ 45.00
20c. Property, homeowner‘s, or renter’s insurance 20¢. $ O-OO
20d, Maintenance, repair, and upkeep expenses 20d. $ 1800
203. Homeowner's association or condominium dues 209_ $ 0.00

Oii`lcial Form 106J Schedule J: Your Expenses page 2

 

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newa NADlNE RouNDTREE TRoM BAcco ease numbe, gm 16-bk4;0188-KSJ
Firsf Nan'e.' MiMe Name LastNarne
21. othel’. Specifyl 21_ +$ 0.00
22. Calculate your monthly expenses.
zza. Add lines 4 through 21. 22a. 3 2,765_00
22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Oflicial Form 106J-2 22b. $ 0,00 ‘
22c. Add line 22a and 22b. The result is your monthly expenses 22c. $ 2, ZS§_OO

 

 

 

23. Calcuiate your monthly net income.

 

3 586.00
23a. Copy line 12 (your combined monthly income) from Schedule l. 23a. $_'_
23b. Copy your monthly expenses from line 22c above. 23b. _ $ 2,765.00
23c. Subiract your monthly expenses from your monthly income. 821 00

The-result is 'your‘monthly'net income_ 23c. $_-_-----'_

 

 

24. Do you expect an increase or decrease in your expenses within the year alter you tile this fom'r?

For example, do you expect to finish paying for your car loan within the year cr do you expect your
mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

g No.

n Yes. § Explain here:

Offrcia| Form 106J Schedule J: Your Expenses page 3

 

 

CaS€ 6216-bl<-OOJ_88-KS.]

Fill in this information to identify your case:

Debtor 1

DOC 14

 

First Name Middle Name Last Name

Debtor 2

 

(Spouse, ifl'lllng) FirstName Middle Name Last Name

United States Bankruptcy Court for the: Middle DiStriCi Of Florida

Case number
(if known]

 

El

 

Filed 02/09/16 Page 34 of 57

n Check if this is an

 

Oflicia| Form 106Dec

 

Dec|aration About an individual Debtor’s Schedules

amended filing

12/15

if two married people are filing together, both are equally responsible for supplying correct information.

You must tile this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20

years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

- Sign Below

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy fon'ns?

UNO

n Yes. Name cf person

 

. Attach Bankruptcy Petiticn Preparer’s Notice, Declaratr'on, and

Signature (Offlcial Form 119).

Under penalty of perjury, i declare that | have read the summary and schedules filed with this declaration and

that they are true and correct.

X

 

 

ature of Debtor 1

Signa

Date

Date 03 `Og ,9`0{ b

MMl DD /

ture cf Debtor 2

MM/DD/ YYYY

 

Ofiicial Form 106Dec

Deciaration About an individual Debtor’s Scheduies

 

 

l
§
§
§

Case 6216-bl<-OOJ_88-KS.] DOC 14

Fill in this information to identity your caso;

Dbbrr,rr NADlNE ROUNDTREE TROMBACCO

First Name Middle Name

Debtor 2

Last Name

 

(Spouse. if iiling) Firsi Name Middie Name

Last Name

United States Bankruptcy Court for ihe: Middle Disii’ict of Florida

case n,_,rrrber 1'6-'bk-'00188-KSJ

 

~(ir known)

 

 

Official Form 107 _

 

Filed 02/09/16 Page 35 of 57

- iii check irihis is an
amended h|ing

Stat:ement of-~ Financial Affairs for individuals Filing- for Bankruptcy 12115

Be as complete and accurate as possible. iftwo married people are filing together, both are equally responsible for supplying correct
infomiation. if more space is needed, attach a separate sheet to this forrn. On the top of any additional pages, write your name and case

number (if known). Answer every question.

- Give ,Dotalls About ¥our Marltai Status and `Where You .Llivod Bdoro

 

1. \Nhat is your current marital status?

d Married
l;] Not married

2. During the last 3 years, have you lived anywhere other than where you live now?

MNO

m Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

Debfor 1:

 

Number Street

 

 

city see ziP code

 

Number Street

 

 

city state ziP code

 

 

 

 

 

 

 

 

Dates Debtor 1 Debtor 2: Dates Debtor 2
lived there |ivi`ed there
n Same as Debtor1 m Same as Debtor1
From F'°m
Number Street
To _____ To
City Statie ZlP Code
n Same as Debtor1 n Same as Debtor1
From From
Number Slreet
To To
city stare ziP code

3. Wrthin the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, Caiifomia, |daho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Vlhsconsin.)

MNo

n Yes. Make sure you fill out Schedule H: Your Codebt0rs (Ofiicial Form 106H).

mjxplaln the Sourcos of your income

Ofliciai Form 107 Statement of Financiai Affairs for individuals Filing"for'Bankruptcy page 1

 

Case 6:16-bl<-00188-KS.] DOC 14 Filed 02/09/16 Page 36 of 57

named NADlNE RouNDTREE TRoMBAcco Case,,umbe,[,km, ie_bk-ooiae-KSJ

 

 

First Name Middle Name Last Name

 

4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
lt you are tling a joint case and you have income that you receive together, list it only once under Debtor 1.

gNo

Elv ves_ Fiu in the details

 

 

Sources of lncomo Gross lncome Sources ct lncome Gross in ome
Check all that apply. (before deductions and Check all that apply (before ductions and
exclusions) exclusioney
From January 1 of cunent year until n ::"9°$' °‘;immisg°"s" $ 0’.00 n \:;29°'9* °;mmiss"°"& $ G;OO'
the date you filed for bankruptcy: "us°s' ps _"_"”__ nus°s' ps
a Operatinga business n Operating a business
For last calendar year n Wages, commissions, n Wages, commissions
' bonuses, tips $ 0-00 bonuses, tips $ O-OO
(Janua'¥1 t° Deoember 311____) a Operatinga business a Operatinga business
For the calendar year before that cl \tl>\;ages, c<t)immissions, n \;V°ages. cctiimmissions,
"“S°S' vs $ 0.00 "“S°S- vs $ 0.00

 

(January 1 to Decembe" 311 _______) n Operating a business a Operating a business

5. Did you receive any other income during this year or the two previous calendar years?
include income regardless of~whether that income is taxable. Examples of'other income are 'alimony; child'support; Social Security,
unemployment and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and
gambling and lottery winnings. |f you are li|ing a joint case and you have income that you received together, list lt only once under Debtor 1.

List each source and the gross income from each source separate|y. Do not include income that you listed in line 4.

g No
Cl Yes. Fiii in the detaiis.

 

Sources of lnoome Gross income from Sources of income

Gross income from

 

 

 

 

cascan below. ¢a¢h worse Descnbe below. each some
(before deductions and (before deductions and
exclusions) exclusions)
From January 1 of current year until
the date you filed for bankruptcy:
$
For last calendar year: $ $ `
(January 1 to Deoember 31, ) 5 $
3 s

For the calendar year before that:

(January 1 to Deoember 31, )
YvYY

 

 

 

 

Oflicial Form 107 Statement of Financial Afl‘airs for lndividua|s Fi|ing for Bankruptcy page 2

 

 

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Debtor1 NADlNE ROUNDTREE TROMBACCO Case numbe,(,k,,a,,,,, 16-bk-00188-KSJ

 

 

Pirst Name Middle Name Last Name

List Cortaln Payments \'ou .Made Beforo ¥ou Filed for Bankruptcy

 

6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

L_.I No` Neither Debtor 1 nor Debtor 2 has primarily consqu deb'ls. Consumer debts are denned in 11 U.S.C. § 101(8) as
“incurred by an individual primarily for a personai, famiiy, or household purpose."

During the 90 days before you liled for bankruptcy, did you pay any creditor a total of $6,225* or more?

a No. Go to line 7.

n Yes. List below each creditor to whom you paid a total of $6,225‘ or more in one or more payments and the

" Subjeci to adjustment on 4/01/16 and every 3 years alter that for cases filed on or alter the date of adjustment

total amount you paid that creditor. Do not include payments for domestic support obligations, such as
child suppcit and alimony; Aiso; do notinclude payments to an attorney for this bankruptcy case.

n Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

n No. Go to line 7.

g Ves. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that

creditor. Do not include payments for domestic support obligations, such as child support and
alimony, Also, do not include payments to an attorney for this bankruptcy case.

 

 

 

 

 

 

 

 

 

 

 

Dates of Total amount paid Amount you still owe
wyman
Centrai F|orida Postal CU Nov 2015 $ 789. 00 $ 0.00
Creditor’s Name
301 E. Michigan St Dec 2015
Number Street
Jan 2016
Orlando FL 32806
city stare ziPcoae
Jan 2016 $ 720.00 $ 0.00
Creditor’s Name
Orange County Tax Collector
Number Street
P.O. Box 545100
Oriando FL 32804
city sma ziPcode
$ 0.00 $ 0.00
Creditors Name

 

Number Street

 

 

City State Z|P Code

Was this ipayment for.. .

n Mortgage

g Car

n Crediit card

n Loan;repayment

n Suppiiers or vendors
n Other

n Mortgage

n Car

n Credlt card

n Loan\repayment

n Supp|iers or vendors
M enter Taxes

m Morigage

n Car

Cl credireard

n Lcan repayment

n Supp|iers or vendors
n Other

 

Oft'iciai Fon'n 107

Statement of Financiai Affairs for individuals Filing for Bankmptcy

page 3

 

 

 

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06wa NADlNE ROUNDTREE TROMBAcco Casenu,,,be,(,,m, 16-bk4)0188-KSJ

 

Fird Name Middle Name Last Name

7. Within 1 year before you filed for banknipt:cy, did you make a payment on a debt you owed anyone who was an insider?
lnsiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
corporations of which you are an ofticer, director, person in control, or owner of 20% or more of their voting securities; and any managing

agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. include payments for domestic support obligations.
such as child support and alimony.

gNo

n Yes. List all payments to an insider.

Dates of Total amount Amount you still Reason for this payment
payment paid owe

lnsider’s Name

 

Number Street

 

 

cary saw ziP code

 

lnsider‘s Name

 

Number Sb'eet

 

 

city saw ziP code

8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
an insider?

lnclude payments on debts guaranteed or cosigned by an insider.

ElNo

n Yes. List all payments that benefited an insider.

 

 

 

 

 

 

Dates of Toul amount Amount you still Reason for th|s payment 5
""""‘°"‘ "‘“‘ °“"* indu¢aor»diinvsname
insiders Name $ $
Number Street
city sims ziP code
$ $
insider Name

 

Number Stneet

 

 

cary sma ziP code

Oflicial Form 107 Statement of Financial Afl‘airs for lndividuals Filing for Bankruptcy page 4

 

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Debtor1 NADlNE RouNDTREE TROMBACCO

ease number (,,m,,) 16-bk»00188-KSJ

 

 

First Name Middle Name Last Name

identify Legal Actions, Repossessions, and Foreclosures

 

9. W`rthin 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
List all such matters, including personal injury cases, small claims actions, divorces, collection suitsl paternity actions, support or custody modifications

 

 

 

 

 

 

 

and contract disputes.
n No
a Yes. Fiii in the dearie y
Neture of the case Court or agency Statuh of the case
` Foreciosure § - ~ - -
. » l 9th Judicia| Circuit, Orange Cty FL _
Case m Bank of America, N.A. l lam Name a pend,ng
V Raquel D. Spatcher, et al 425 N_ orange Ave cl On appeal
Number Street n Conduded
ease number 2014-CA-013132-0 ' ’ Or|ando FL
:cny sure ziP code
case dire Court Name El Pending
" 0 Gn appeal
:Number Street a Goncluded
Case number

 

,City State Z|P Code

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, gamished, attached, seized,`or levied?

Check all that apply and ii|l in the details below.

El No. co to line 11.
g Yes. Fill in the information below.

Bank of America, N.A.

 

Creditor’s Name

177 Countrywide Way

 

Number Street

 

Lancaster CA 93536

 

City state ziP code

 

Creditor's Name

 

Number Street

 

 

City save ziP code

Ofi'icial Form 107

Descrlhe the property Date
` 7706 Ferrara St., Orlando Florida 32819

Value 01 the property

$ 63,000_00

 

Expialn what happened

m Property was repossessed.

a Property was foreclosed.

n Property was gamished.

n Property was attached, seized, or |evied.

Descrlbe the property Date

Value i)f the propert§

$ 0.00

 

Explalrr what happened

n Property was repossessed.

ij Property was foreclosed

U Property was gamished.

n Property was attached, seized, or levied.

Statement of Financial Affairs for individuals Filing for Bankruptcy

page 5

 

 

 

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oewa NADlNE RouNDTREE TROMBACCO camumbe,[,m, 16-bk-00188-K3J

Firat Name Middle Name Last Name

 

 

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
accounts or refuse to make a payment because you owed a debt?

gNo

El Yes. Fiii in me details

 

 

 

 

 

l
Descrlbe the action ttie creditor took Date action Amount
was taken t
Credlor's Name
5 0.00
Number Street
City S¢afa Z|P Code Last 4 digits of account number: XXXX-

12. Wrthin 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
creditors, a court-appointed receiver, a custodian, or another officia|?

No
[:l Yes

m List Certaln Glfts and Contrlbutlons

13.Wiihin 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

g No
EJ~ Yes. Fiiiin me deans for each gifr.

 

 

 

 

 

 

 

 

 

 

 

 

Glfts with a total value of more than $600 Describe the gifts Datas you gave Vdue
per person the gifts ;
$ 0.00
Person to Whom ¥ou Gave the Gift
$ 0.00
Number Street
City State Z|P Code
Person’s relationship to you
Glfts with a total value of more than 8600 Descrlbe the gifts Dates you gave Valire
3 0.00
Person to Whom You Gave the Gift
s 0.00
Number Stieet
City State Z|P Code

Person's relationship to you

Ofiicia| Form 107 Statement of Financial Affairs for individuals Filing for Bankmptcy page 6

 

`,..,,~...,.J,..M~,i,.<-,vmm.., \¢.L … »‘

 

Case 6:16-bk-00188-KS.] DOC 14 Filed 02/09/16 Page 41 of 57
chwa NADlNE ROUNDTREE TROMBACCO Casenumbe,m,,°,,”, 16-bk-00188-KSJ

Fii'st Name Middle Name Last Name

14.Wrihin 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

n No
a Yes. Fil| in the details for each gift or contribution

 

 

 

 

 

 

Glfts or contributions to charities Describe what you contributed Date you Value
Tithes and Offerings l l l ` §

Simchat Beit Torah Midrash ` ' 2013 $ 7,063.00

Charity's Name ' k
j2014 s 5,541.00 `

183 N. Hwy 27
Number Street

C|ermont FL 34711
City Stats ZiP Code

List Certaln Losses

15. Wrihin 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
disaster, or gambling?

a No
C] Yes. Fii+m-ii=iedetaiis.

 

Describe the property you lost and Describe any insurance coverage for the loss Date of your Vaiue1 of property

how the loss occurred _ _ _ _ _ loss lost t
include the amount that insurance has peid. List pending insurance §

claims on line 33 of Schedule A/B; Pmperiy.

 

$ 0.00

List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone
` you consulted about seeking bankruptcy or preparing a bankruptcy petition?
include any attomeys, bankruptcy petition preparers,,or credit.counseiing agencies for services.requir.e.d in your bankruptcy

n No 3 j
El Yes. Fiii in me details

 

 

 

z §
Descrlptlon and value of any property transferred Date payment or Amoi.mt of payment §

 

 

 

 

 

 

 

transfer was l
Person Who Was Paid n \ made l
Number Sireet $ 0. 00
$ 0_00
City Statie Z|P Code §
t

 

Emaii or website address

 

 

Person Who Made the Paymerit. if Not You

 

 

Ofiicia| Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 7

Case 6:16-bl<-00188-KS.] DOC 14 Filed 02/09/16 Page 42 of 57

NADlNE ROUNDTREE TROMBACCO

16-bk-OO1 88-KSJ

 

 

 

 

 

 

Debtor 1 Case number (ifknown)
First Name Middle Name Last Name
Description and value of any property transferred
Person Who Was Paid
§ Number Street
ciiy state ziP code

 

Emai`l or websiie address

 

Person Who Made die Paymerrt, if Not You

promised to help you deal with your creditors or to make payments to your creditors?
'Do not include'any payment or transfer that‘you'listed on fine 16.

g No
Ci Yes. Fiii in me demiis.
Descrlptlon and value of any property transferred

 

Person`Who Was Paid

 

Number Streat

 

 

City State Z|P Code

 

transferred in the ordinary course of your business or financial affairs?

transfer was made

Date payment or Amount of

payment

$ 0.00

 

 

$ 0.00

11. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who

 

Date payment or Amo§int of payment
transfer was §
y made
$r § 0.00
$ 0.00

 

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property

include both outright transfers and transfers made as security (suc'h as `fhe granting of a security interest or mortgage on your property)

Do not include gifts and transfers that you have already listed on this statement

MNo

Cl Yes. Fiii in me deiaiis.
Descrlptlon and value of property

 

 

 

 

 

 

 

 

Descnbe any property or payments received lime transfer

transferred or debts paid in exchange was made
Person Who Received Transfer
Number Street
city state ziP code
Person`s relationship to you
Person Who Reeeived Transfer
Number Street
city scm ZiP code
Person`s relationship to you
0fliclal Form 107 Statement of Financial Affairs for individuals Filing for Bankrupticy page 8

 

Case 6:16-bl<-00188-KS.] DOC 14 Filed 02/09/16 Page 43 of 57
Debtor1 NADlNE ROUNDTREE TROMBACCO Case numbe,(,,,m,,w,,, 16-bk-00188-KSJ

Fitd Name Middle Name Last Name

19. With in 10 years before you filed for bankruptcy, did you transfer any property to a self-settled tnist or similar device of which you
are a beneficiary? (T hese are often called asset-protection devices.)
No
.Ei vest Fiii in me details

§
Desenption and value ofthe propertytransferred liab transfer
was made

 

Name of trust

 

 

 

List certain Flnanclal Aooounts, lnstrumonb, $afe Deposlt loxos, and Storage Unl'bs

20. W`ithin 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit
closed, so|d, moved, or transferred?
include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
brokerage houses, pension funds, cooperatives, associations, and other financial institutions.

g No
Ei Yes. Fiii in me deaiis.
Last 4 digits of account number Type of account or Date account was Last balance before

instrument closed, sold, moved, closing or transfer
orlransferred j §

 

Name of Financial institution
XXXX- U checking s

 

n Savlngs

 

Number Street
n Money market

 

n Brokerage
City State ZiPCode n other

 

XXXX___ ____ __ __ n Checklng 5
n Savlngs

 

Nane cf Financial institution

 

Number street n Money market

n Brokerage

 

Cl other

 

ciiy see ziP code

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
securities, cash, or other valuables?
E No
El Yes. Fiii in me dewiis.

 

 

 

 

 

 

Who else had access to lt? Descnbe the contents § Do you still
_ § have m
n No
Name of Financial institution Name n Yes
Number Street Number Street
city sum ziF code

 

City $!ofe Z|P Code

 

Otiicia| Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 9

 

 

 

Case 6:16-bk-00188-KS.] DOC 14 Filed 02/09/16 Page 44 of 57
Debtor1 NADlNE RouNDTREE TROMBAcco Camum,,e,(mn, ie-bkooiae~KsJ

First Name Middie Name Last Name v

 

 

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for ban|¢mptcy?
g No
El Yes. Fiii in me details §
Who else has or had access to lt? Descnbe the contents § Do you still

 

 

l havelt?

§ n No

Name of$torage Fac'llity Name m yes
Number Street Number Street

 

CityState ZiP Code

 

city sms ziP code

 

 

m ldontlfy Property \'ou llold or Control for $omoono Ilso
23. Do you hold or control any property that someone else owns? include any property you borrowed from, are storing for,
or hold in trust for someone.
5 No
El Yes. Fill in the details

 

Where is the property? l Describe the property §Vaiue

 

0wner’s Nane 1 1 $

 

.. L S"`,eet

 

Number Street

 

 

 

city sure ziP code

 

 

city sue zii= code

m 6lvo llotalls About lnvlronmont¢l lnformadon

 

For the purpose of Part 10, the following definitions apply:

l Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
hazardous or toxic substances, wastes, or material into the air, land, soi|, surface water,-groundwater,'orowermedium,
including statutes or regulations controlling the cleanup of these substances, wastes, or material.

l Site means any location, fecility, or property as defined under any environmental law, whether you now own, operate, or
utilize it or used to own, operate, or utilize it, including disposal sites.

l Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
su bstance, hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

EN°

El Yes. Fiu in me details

 

 

 

 

Govemrnentai unit Environrnental law, if you know it date of notice
Name of site Govemmental unit
Number Street Number Street
city sure ziP code

 

City Shte Z|P Code

Ofticia| Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 10

Case 6:16-bk-00188-KS.] DOC 14 Filed 02/09/16 Page 45 of 57
Debw,§ NADlNE RouNDTREE TROMBACCO Casenumbe,(m,m) 16-bk4)0188-KSJ

First Name Middle Name Last Name

 

 

25.Have you notified any governmental unit of any release of hazardous material?

EN°

Ei Yes. Fiii in ute details

 

 

 

 

Govemmental unit Environmentai iaw, if you know it Date of notice
§ Name 0| lite Govemmental unit
§ §
§ Number Sireet Number Street
§
t
§ city sum ziP code
§
§

City State Z|P Code

26. Have you been a party in any judicial or administrative proceeding under any environmental law? include settlements and orders.

n No
Ei ves. Fiii in the detaiis.

 

 

 

 

 

Court or agency Nature of the case sums d me
case
Case title
court Name m Fending
n On appeal
Number Street n Concluded
case '“""b.°" city state ziP code

Give Detaile About Your lue|neos or connections to Any lusiness

21. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
n A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
a A member of a limited liability company (LLC) or limited liability partnership (LLP)
g A partner in a partnership
n An officer, director, or managing executive of a corporation

 

cl An owner of at least 5% of the voting or equity securities of a corporation

g No. None cf the above applies. Go to Part 12.
a Yes. Check all that apply above and fill in the details below for each business.
Describe the nature of the business Empioyer identification number
Do not include Social Security number or iTiN.

 

Business Name

 

 

 

y EiN ____ ____ - _______ §

Number Street g , . _ _, . . ~ g

Name of accountant or bookkeeper Dates business existed

z § From _________ To _~________
city state ziF code

Descnbe die nature of the business Empioyer identification number § §

 

. Do not include Social Security number or lTlN. ;
Business Name »

 

 

EtN ____-_____________

Number Slreet
Name of accountant or bookkeeper Dates business existed

. z

§ From To f-

 

City State ZiP Code

 

Ofticial Form 107 Statement cf Financial Affairs for individuals Filing for Bankruptcy page 11

 

 

,.»..~,»m,,.w.¢.§.»-(t.…...,§ ;…~ t y

,mm¢,-.,,W. w»»~.~,

Case 6:16-bk-00188-KS.] DOC 14 Filed 02/09/16 Page 46 of 57
D,,,w,1 NADlNE RouNDTREE TRoMBAcco Casenumbe,(mm, 16-bk4)01ae~i<s.i

Fi'st Name Middle Name La§ Name

 

 

Empioyer identification number
Do not include Social Security number or i11N.

Descrlbe the nature of the business

 

Business Name

 

 

 

ElN'_______-_____..______._._.
N\""b" s“°°‘ Name or accountant or bookkeeper Dahs business ¢XISM
` From T° _________
city state ziP code

 

28. Wlthin 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? include all nnanciai
institutions, creditors, or other parties.

ElNo

E| ves. Fill in the details below.

Date issued

 

N="'¢ MM l no / YYYY

 

Number Sireet

 

 

City Sizte Z|P Code

m --

 

l have read the answers on this Statement of Financial Affairs and any attachments, and l declare under penalty of perjury that the
answers are true and correct. l understand that making a false statement, concealing property, or obtaining money or property by fraud
in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.

18 U.S.C. §§ 152, 1341, 1519, and 3571.

xi@%‘i,;niiw x

v
Signature of Debtor1 Signature of Debtor 2

Date&:g/[(Q nm

Did you attach additional pages to Your Statement of Financial Affairs for individuals Filing for Bankruptcy (Ofiiciai Form 107)?

g No
n Yes

 

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy fon'ns?

MNo

a Yes. Name of person . Attach the Bankruptcy Pefition Preparer’s Notice,
Dec/aration, and Signature (Ofiiciai Form 119).

 

 

Ofticia| Form 107 Statement of Financial Affairs for individuals Filing for Banknrptcy page 12

 

l

 

 

 

b 3, A|imony and maintenance payments. Do not include payments from a spouse.

Fill ill this information to identify your casc; Check as directh m mms 17 and 212

According to the calculations required by

Debtor1 NADlNE ROUNDTREE TROMBACCO ims Statement

First Name Middle Name Last Name

Debtnr 2 m 1. Disposab|e income is not determined
(Spouse, fhlng) Fimriame Middle horne under 11 U.S.C. § 1325(b)(3).

 

 

|____] 2. Disposable income is determined
under 11 U.S.C. § 1325(b)(3).

United Stetas Benkruptcy Court for the: Middle Districl Of F|orida

 

case number 16-bk-OO188-KSJ
(ll known) m 3. The commitment period is 3 years.

g 4. The commitment period is 5 years.

 

    

 

m Check if this is an amended ’liling

Officia| Form 1220-1
Chapter 13 Statement of ‘{our Current Monthly income

and Calculation of Commitment Feriod 12/15

Be as complete and accurate as possibie. |f two married people are filing together, both are equally responsible for being accurate. if
more space is needed, attach a separate sheet to this fonn. include the line number to which the additional information applies. On the
top of any additional pages, write your name and case number (if known).

 

Part 1: Calculate Your Avorage Monthiy income

z 1. What is your marital and filing status? Check one only.

Ci Noi married Fill out column A. lines 2-11.
m Married, Fill out both Columns A and B, lines 2-11.

Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
bankruptcy case. 1 1 U.S.C. § 101 (10A). For examp|e, if you are iiling on September 15, the 6-monlh period would be March 1 through
August 31. if the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6. `Fill in
the result. Do not include any income amount more than once. For examp|e, if both spouses own the same rental property, put the income

' from that property in one column only. |f you have nothing to report for any iine, write $0 in the space.

Column A Column B
Debtor 1 Debtor 2 or
non-ming spouse
2. Your gross wages, saiary, tips, bonuses, overtime, and commissions (before ali
payroll deductions). $ 0- 00 5 O.GO

$ 0.00 s 0.00

4. All amounts from any source which are regularly paid for household expenses of
you or your dependents, including child support include regular contributions from
an unmarried pariner, members of your household, your dependents parenis, and
roommates. Do not include payments from a spouse. Do not include payments you
listed on line 3. $ 0.00 $ 0.00

5. Net income from operating a business, profession, or

fa'm Debtor 1 Debtor 2

Gross receipts (before ali deductions) $_MO $_
Ordinary and necessary operating expenses _ $ O-OQ. 3
. . . Copy
Net monthly income from a business, profession, or farm $ $ hm_) $ $
6. Net income from rental and other real property Debtor 1 Debtor 2

Gross receipts (before all deductions) $ 650 $

Ordinary and necessary operating expenses .- $ 0.00 _ 5

Net monthly income from rental or other real property $ 0.00 $ ::r';y_) $ 000 $

 

Oflicial Form 122C-1 Chapter 13 Statement of Your Current Monthly income and Caicu|ation of Commitrnent Period page 1

 

 

`.,W_,,,M,,,,,,,.MW_MW@Wa.“r,.-,.a.l.…i… ,»,e,l. ,,_~..M,...Q.,`»~¢- _

norm NADlNE §§i§iiririi@i?“i?l%]l\i§/i§§$ DOC 14 Filed 02/09/16 Pa%_b¢‘i&g;e%?|(&|

Case number lrkn<>wn)
First Name Midde Name Last Name

 

 

 

 

 

 

 

 

 

 

 

Column A Column B
Debtor 1 Debtor 2 or
non-filing spouse
7. lnterest, dividends, and royalties $ $
8. Unemployment compensation $______Q;_U $.__..____LO
Do not enter the amount if you contend that the amount received was a benefit under
the Social Security Act. |nstead, list it here: ....................................... ¢
For you ................................................................................... $ O-OO
For your spouse ................................................................... $ 0-00
9. Pension or retirement income. Do not include any amount received that was a 0 00 0 00
beneiit under the Social Security Act. $_____________~_ $__________-__
10. income from all other sources not listed above. Specify the source and amount.
Do not include any beneiits received under the Social Security Act or payments
received as a viciim of a war crime, a crime against humanity, or international or
domestic terrorism. if necessary, list other sources on a separate page and put the
total below.
s $ 0.00
$ 5 0.00
Total amounts from separate pages, if any. -|- $ 0.00 -|- $ 0.00
11. Calcuiate your total average monthly income. Add lines 2 through 10 for each _
column. Then add the total for Column A to the total for Column B. $____O_'_Q_O_ + $___Q_LL _ $___MO
Totai average

monthly income

m Determine l-low to Measure ¥our Deductlons from Incomo

12. Copy your total average monthly income from line 11. ......................................................................................................................

 

 

 

 

 

 

 

 

 

5 0.00
13. Ca|cu|ate the marital adjustment Check one:
[:i You are not mamed. Fill in o below.
m You are married and your spouse is filing with you, Fill in 0 below.
m You are married and your spouse is not filing with you.
Fill in the amount of the income listed in line 11l Column B, that was NOT regularly paid for the household expenses of
you or your dependents, such as payment of the spouse’s tax liability or the spouse’s support of someone other than
you or your dependents
Below, specify the basis for excluding this income and the amount of income devoted to each purpose. if necessary,
list additional adjustments on a separate page.
if this adjustment does not apply, enter 0 below.
0.00
$ 0.00
+ $ 0.00
i“"“""""""`“""`”"`<ij`€)"o” __ o.oo
Total ............................................................................................................................................ §W $_+_ copy here _)
14. Your current monthly income. subtract the total in line 13 from line 12. s O-OO
15. Calculate your current monthly income for the year. Fo|low these steps:
0.00
15a. Copy line 14 here 9 ...................................................................................................................................................................................... $ -_~_
Multiply line 15a by 12 (the number of months in a year). x 12
15b. The result is your current montiin income for the year for this part of the form. ................................................................................. $_M

 

 

 

 

 

 

 

 

Ofiicial Form 122C-1 Chapter 13 Statement of Your Current Monthly income and Calculatlon of Commltrnent Period page 2

WMWW_`M,HWMNWM,,,,,,:.!,..V.»,M.,',i..., ,' ,.M y

888,88 8ansse.@-ii83lel888%lsl DOC 14 F"€d 02/09/16 Pa%€8i8%8if88188

Case number umwa
First Name Midde Name Last Name

 

16. Calcuiate the median family income that applies to you. Fol|ow these steps:

16a. Fill in the state in which you iive. F|Onda
16c. Fill irl the number of people in your household 2
16c. Fill in the median family income for your state and size of household. .............................................................................................. $ 0-00

To lind a list of applicable median income amounts, go online using the link specihed in the separate
instructions for this form. This list may also be available at the bankruptcy clerk’s office.

17. How do the lines compare?

17a. E Line 15b is less than or equal to line 16c. On the top of page 1 of this form, check box 1, Disposable income is not determined under
11 U.S.C. § 1325(b)(3). Go to Part 3. Do NOT till out Ca/culation of Your Disposable lncome (Oflicia| Form 1220-2).

17b, m Line 15b is more than line 16c. 0n the top of page 1 of this form, check box 2, Disposable income is determined under
11 U.S.C. § 1325(b)(3). Go to Part 3 and till out Calculation of ¥our Dlsposable income (Offlclal Form 1220-2).
On line 39 ofthat form, copy your current monthly income from line 14 above.

Part 3: Calculate \'our Commltment Perlod Under 11 U.S.C. § 1325(b)(4)

 

 

 

 

 

 

 

 

18. Copy your total average monthly income from line 11. ........................................................................................................................ $ 0.00
19. Deduct the marital adjustment if it applies. if you are married, your spouse is not filing with you, and you contend that

calculating the commitment period under 11 U.S.C. § 1325(b)(4) allows you to deduct part of your spouse's income, copy

the amount from line 13.

19a. if the marital adjustment does not apply, fill in 0 on line 19a. ................................................................................................ $ 0_00

19b. Subtract line 19a from line 18. $ 0.00
20. Caiculate your current monthly income for the year. Foilow these steps:

2Da. Copy line 19b ........................................................................................................................................................................................... $ O_OO

Multiply by 12 (lhe number of months in a year). x 12
20b. The result is your current monthly income for the year for this part of the form. $ O. 00
20c. Copy the median family income for your state and size of household from line 16c. ................................................................... $ 0_00

 

 

 

21. How do the lines compare?

m Line 20b is less than line 200. Un|ess otherwise ordered by the court, on the top of page 1 of this form, check box 3.
The commitment period is 3 years. Go to Part 4.

Line 20b is more than or equal to line 200. Unless otherwise ordered by the court, on the top of page 1 of this form,
check box 4, The commitment period is 5 years. Go to Palt 4.

may Slgn leovv

 

 

, under,\pena|ty of perjuryi declare that the information on this statement and in any attachments is true and correct.

ii?/uwrlw/ X

 
 

 

 

Signatt,lrev of Debtor 1 l Signature of Debtor 2
Date 02/08/2016 Date
MM/DD /YY\'Y MM/ DD /YYYY

if you checked 17a, do NOT till out or file Form 1220-2.

 

Officlai Form 1220-1 Chapter 13 Statement of Your Current Monthly income and Calculation of Commitment Period page 3

lf you checked 17b, fill out Form 1220-2 and tile it with this form, On line 39 of that form, copy your current monthly income from line 14 above.

 

 

a 88»»~8~@8

Case 6:16-bl<-00188-KS.] DOC 14 Filed 02/09/16 Page 50 of 57

Fill in this information to identify your case:

Debtor1 NADlNE ROUNDTREE TROMBACCO

Firat Name Middle Name Last Name

 

Debtor 2
(Spol§e. if f'l|lng) First Name Middle Name Last Name

 

United States Banknlptcy Court for the: Middle Distrlct of Florida

Case number 16-bk-00188-KSJ

(if known)

 

m Check if this is an amended filing

 

Offlcial Form 1220-2
Chapter 13 Calculation of Your Disposable income 12115

To fill out this form, you will need your completed copy of Chapter 13 Statement of your Current Monthly lncome and Calculation of
Commitment Period (Offlcial Form 1220-1).

Be as complete and accurate as possib|e. if two married people are filing together. both are equally responsible for being accurate. if
more space is needed, attach a separate sheet to this fonn. include the line number to which the additional information applies. On the
top of any additional pages, write your name and case number (if known).

 

 

Part 1: Calculate Your Deductlons from Your income

 

The lntemai Revenue Service (iRS) issues National and Local Standards for certain expense amounts. Use these amounts
to answer the questions in lines 6-15. To find the lRS standards, go oniine using the link specified in the sepalate
lnstmctions for this fonn. This information may also be available at the bankruptcy clerk’s oftlce.

Deduct the expense amounts set out in lines 6-15 regardless of your actual expense in later parts of the forml you will use
some of your actual expenses if they are higher than the standards Do not include any operating expenses that you
subtracted from income in lines 5 and 6 of Form 1220-1l and do not deduct any amounts that you subtracted from your
spouse's income in line 13 of Form 1220-1.

if your expenses differ from month to month, enter the average expense

Note: Line numbers 1~4 are not used in this fonn. These numbels apply to information required by a similar form used in chapter 7 cases

5. The number of people used in determining your deductions from income
Fill in the number of people who could be claimed as exemptions on your federal income tax
return, plus the number of any additional dependents whom you support This number may
be different from the number of people in your household 0-00

 

 

 

 

National

Swndards ‘(ou must use the lRS National Standards to answer the questions in lines 6-7.

6. Food, ciothing, and other ltems: Using the number of people you entered in line 5 and the lRS National 0 00
Standards, fill in the dollar amount for food. clothing, and other items. $___~_

7. Out-of-pocket health care aliowance: Using the number of people you entered in line 5 and the lRS National
Standards, fill in the dollar amount for out-of-pocket health care. The number of people is split into two
categories-people who are under 65 and people who are 65 or older-because older people have a higher lRS
allowance for health care costs. lf your actual expenses are higher than this lRS amount. you may deduct the
additional amount on line 22.

Of&cial Form 1220-2 Chapter 13 Calculation of Your Disposable income page 1

 

»-vr~»¢-»'\-»,» .8-

',.-w»wvw.., 8,.,,8

Case 6:16-bl<-00188-KS.] DOC 14 Filed 02/09/16 Page 51 of 57
D,b,°m NADlNE ROUNDTREE TROMBACCO caeennmbern,m.,,,, 16-bk-00188-KSJ

Flf!l Name M`ddlo Name Lll\ Name

People who are under 65 years of age

 

7a. Out-of-pocket health care allowance per person $ 0.00
7b. Number of people who are under 65 X 0
. . . _OO C°il¥ _
7c. Subtotal. Multlply line 7a by line 7b. $ 0 hen_) 0 00

 

 

 

People who are 65 years of age or older

7d. Out~of-pocket health care allowance per person $ 0.00

 

 

 

 

7e. Number of people who are 65 or older X 0
Cop
vi Sublolal. Mulliply line id by line 7e. s 0-00 hmy.) + $____LQ
ig. Teial. Add lines 7c and ri, ..................................................................................................... $ O-OO copy here-9 ....... $ 0-00
Local ¥ou must use the lRS Local Standards to answer the uestions in lines 8-15
Standards ' q '

Based on information from the lRSl the U.S. Trustee Program has divided the lRS Local S\andard for housing for
bankruptcy purposes into two parts:

l Housing and utilities - insurance and operating expenses
l Housing and utilities - Mortgage or rent expenses

To answer the questions in lines 8-9, use the U.S. Trustee Program chart. To find the chart, go online using the link
specified in the separate instructions for this fonn. This chart may also be available at the bankruptcy cierk’s office.

8. Housing and utilities - insurance and operating expenses: Using the number of people you entered in line 5, Hll 0 00
in the dollar amount listed for your county for insurance and operating expenses $__-_-‘
9. Housing and utilities - Mortgage or rent expenses:

Qa. Using the number of people you entered in line 5, fill in the dollar amount 0 00
listed for your county for mortgage or rent expenses $_-`_

Bb. Tota| average monthly payment for all mortgages and other debts secured by
your home.

To calculate the total average monthly payment, add all amounts that are
contractually due lo each secured creditor in the 60 months after you tile
for bankruptcy. Next divide by 60.

Name of the creditor Averaga monthly
payment

$ 0.00
$

 

 

 

z ce -
9b. Total average monthly payment $ 0,00§ m;y_) --$ 0.00 ::?;;t:;g'; am°um

i

9¢:. Net mortgage or rent expense g

Subtract line 9b (total average monthly payment) from line ga (mortgage or $ Q QQ l copy here-) _______ $ 0 00
rent expense). if this number is less than $0, enter $0. ` ____`

 

10. if you claim that the U.S. Trustee Program’s division of the lRS Local Standard for housing is incorrect and affects $
the calculation of your monthly expenses, fill in any additional amount you clalm.
Explain
why.'

 

 

 

Offlciai Form 1220-2 Chapter 13 Calculation of Your Disposable income page 2

 

 

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Deb,m NADlNE RouNDTREE TROMBACCO

First Name Middle Name Last Name

 

Case number l/rl<newn;

16-bk-00188-KSJ

 

11. Local transportation expenses: Check the number of vehicles for which you claim an ownership or operating expense.

L___i o.eoioline14.
13 1.Goleline12_
2 or more. Go to line 12.

12. Vehlcle operation expense: Using the lRS Local Standards and the number of vehicles for which you claim the operating
expenses, fill in the Operating Costs that apply for your Census region or metropolitan statistical area.

138 Vehlcle ownership or lease expense: Using the lRS Local Standardsl calculate the net ownership or lease expense for
each vehicle below. You may not claim the expense if you do not make any loan or lease payments on the vehicle. in

addition, you may not claim the expense for more than two vehicles.

Vehlcle 1 Describe Vehlcle 1:

 

 

13a Ownership or leasing costs using lRS Local Standard .......................................

13b. Average monthly payment for all debts secured by Vehlcle 1.
Do not include costs for leased vehicles.
To calculate the average monthly payment here and on line 13e,

add all amounts that are contractually due to each secured
creditor in the 60 months after you file for bankruptcy. Then divide

 

 

 

by 60.
Name of each creditor for Vehlcle 1 Average monthly
Plym¢m
$ 0_00
+ $ 0.00
Total average monthly payment s O_OO ::;y_)

 

 

 

13c. NetVehicle 1 ownership or lease expense

Subtract line 13b from line 13a. lf this number is less than $0, enter $0. ............

Vehlcle 2 Describe Vehicie 2:

$ 0.00

_ $ 0.00

Repeat this amount
on line 33b.

y Copy net Vehlcle

$ 0.00:

 

 

13d. Ownership or leasing costs using lRS Local Standard ...................................

13e. Average monthly payment for all debts secured by Vehlcle 2.
Do not include costs for leased vehicles.

 

 

 

Name of each creditor for Vehlcle 2 Average monthly
payment
5 0.00
+ $ 0. 00
Copy
Total average monthly payment $ 000 here_)

 

 

 

13f. Net Vehlcle 2 ownership or lease expense

Subtract line 13e from 13d. if this number is less than $0, enter $0 .................... f

14. public transportation expense: if you claimed 0 vehicles fn line 11, using the lRS Local Standards, fill in the Public

Transportatlon expense allowance regardless of whether you use public transportation.

15. Additional public transportation expense: if you claimed 1 or more vehicles in line 11 and if you claim that you may also

deduct a public transportation expense, you may fill in what you believe is the appropriate expense. but you may not claim

more than the lRS Local Standard for Public Transportation.

Officla| Form 122C-2

Repeat this amount
_ $_--LO on line 33c.
l y Copy net Vehlcle
$ , 2 expense here $
-)
$
$

Chapter 13 Calculation of Your Disposable income

0

 

1 expense here') $___0'00

0.00

.OO

page 3

 

 

 

.\8,<,.8,,.!.»1,.»<.,8,_,.,»8.8~.*.8names…~ , 88 etc …

i»,-'~

Case 6:16-bk-00188-KS.] DOC 14 Filed 02/09/16 Page 53 of 57

 

 

Deb,m NADlNE RouNDTREE TROMBAcco ease numbe, (mm ie_bk-ooi es-KSJ
Fir\t Name M'ddie Name Last Name
other Necessary in addition to the expense deductions listed above, you are allowed your monthly expenses for the
Expenses following lRS categories

16. Taxes: The total monthly amount that you actually pay for federal, state and local taxes, such as income taxes,
self-employment taxesl social security taxes. and Medicare taxes. You may include the monthly amount withheld
from your pay for these taxes. Howeverl if you expect to receive a tax refund. you must divide the expected
refund by 12 and subtract that number from the total monthly amount that is withheld to pay for taxes.

Do not include real estate. saies, or use taxes.

17. involuntary deductions: The total monthly payroll deductions that your job requiresl such as retirement contributions
union dues, and uniform costsl

Do not include amounts that are not required by yourjob, such as voluntary 401(k) contributions or payroll savings.

18. Life lnsurance: The total monthly premiums that you pay for your own term life insurance if two married people are filing
together, include payments that you make for your spouse's term life insurance
Do not include premiums for life insurance on your dependents, for a non-Hling spouse's life insurancel or for any form of
life insurance other than tenn.

19. Court-ordered paymenw: The total monthly amount that you pay as required by the order of a court or administrative
agency, such as spousal or child support payments

Do not include payments on past due obligations for spousal or child support You will list these obligations in line 35.

20. Education: The total monthly amount that you pay for education that is either required:
l as a condition for yourjob, or
l for your physically or mentally challenged dependent child if no public education is available for similar servicesl

21. Chlldcare: The total monthly amount that you pay for childcare, such as babysitting, daycare, nursery, and preschoo|.
Do not include payments for any elementary or secondary school education.

22. Additional health care expenses, excluding insurance costs: The monthly amount that you pay for health care that is
required for the health and welfare of you or your dependents and that is not reimbursed by insurance or paid by a health
savings account include only the amount that is more than the total entered in line 7.

Payments for health insurance or health savings accounts should be listed only in line 25.

23. Optional telephones and telephone services: The total monthly amount that you pay for telecommunication services
for you and your dependentsl such as pagers, call waiting, caller identification, special long distance, or business cell
phone service, to the extent necessary for your health and welfare or that of your dependents or for the production of
income. if it is not reimbursed by your employer
Do not include payments for basic home telephone, internet or cell phone service. Do not include self-employment
exoenses. such as those reported on line 5 of Form 1220~1. or anv amount vou previously deducted

24. Add ali of the expenses allowed under the lRS expense allowances.
Add lines 6 through 23.

Additional Expense These are additional deductions allowed by the Means Test.
Ded“¢ti°"$ Note: Do not include any expense allowances listed in lines 6-24.

25. Health insurance, disability lnsurance, and health savings account expenses. The monthly expenses for health
insurance, disability insurance, and health savings accounts that are reasonably necessary for yourself, your spouse, or

your dependents

Health insurance $ 0.00

Disability insurance $ 0.00

Health savings account + $ O_OQ

Total §M§::b:_ow.hwvi Copy total here9 .....................................................................
Do you actually spend this total amount? … ``````````````````````````````````

m No. How much do you actually spend? O_OO

EYes $

26. Continuing contributions to the cane of household or family members The actual monthly expenses that you will
continue to pay for the reasonable and necessary care and support of an elderly, chronically ili, or disabled member of
your household or member of your immediate family who is unable to pay for such expenses. These expenses may
include contributions to an account of a qua|iHed ABLE program 26 U.S.C. § 529A(b).

27. Protectlon against family vlolence. The reasonably necessary monthly expenses that you incur to maintain the safety of
you and your family under the Famiiy Violence Prevention and Services Act or other federal laws that apply.

By lawl the court must keep the nature of these expenses conhdential.

Ofticial Form 1220-2 Chapter 13 Calculation of Your Disposable income

 

 

 

 

$ 0.00
3 0.00
$ 0.00
$ 0.00
$ O.GO
$ 0.00
$_0.00
+ $ 0.00
$ 0_00
$ O~OO
$ 0.00
$ 0.00

page 4

 

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newa NADlNE RouNDTREE TROMBACCO Casenumbe,mw, ie-bl<-ooiea-KSJ

First Name Middle Name Last Name

 

 

28. Additional home energy costs. Your home energy costs are included in your insurance and operating expenses on line 8.
if you believe that you have home energy costs that are more than the home energy costs included irl expenses on line 8, .
then flll in the excess amount of home energy costs. $ 0.00 ,

You must give your case trustee documentation of your actual expenses, and you must show that the additional amount
claimed is reasonable and necessary

 

29. Education expenses for dependent children who are younger than 18. The monthly expenses (not more $ 0 00 `
than $156.25* per child) that you pay for your dependent children who are younger than 18 years old to attend a ---- ` "
private or public elementary or secondary schocl.

You must give your case trustee documentation of your actual expenses, and you must explain why the amount
claimed is reasonable and necessary and not already accounted for in lines 6-23.

"’ Subject to adjustment on 4/01/16, and every 3 years after that for cases begun on or after the date of adjustment

30. Additional food and clothing expense. The monthly amount by which your actual food and clothing expenses are $ O_OO j
higher than the combined food and clothing allowances in the lRS National Standards. That amount cannot be more
than 5% of the food and clothing allowances in the lRS National Standards,

To find a chart showing the maximum additional aliowance, go on|ihe using the link specified ih the separate
instructions for this fonn. This chart may also be available at the bankruptcy cierk’s offlce.

You must show that the additional amount claimed is reasonable and necessary.

 

31. Contlnulng charitable contributions The amount that you will continue to contribute in the form of cash or financial
instruments io a religious or charitable organization 11 u.s.c. § 548(<1)(3) and (4). + s 0.00 j

Do not include any amount more than 15% of your gross monthly income.

 

32, Add all ortho additional expense deductionsl $ O_Og §
Add lines 25 through 31.

 

 

 

Deductions for Debt Payment
33. For debts that are secured by an interest in property that you own, including home mortgagesl vehicle
loans, and other secured debt, fill in lines 33a through 33e.

Tc calculate the total average monthly payment, add all amounts that are contractually due
to each secured creditor in the 60 months after you file for bankruptcy Then divide by 60.

 

 

 

 

 

Average monthly
payment
Mortgages on your home
aaa copy line so here ................................................................................................... -) $ O'OO
Loans on your first two vehicles
33b. Copy line 13b here. ............................................................................................... 9 $ 0-00
33c. Copy line 13e here. ............................................................................................... ') $ O~OO
33d. List other secured debts:
Name of each creditor for other identity property that Does
secured debt secures the debt payment
include taxes
or insurance?
EN° s 0.00
Yes
-N° $ 0.00
m Yes
m N° + $ 0.00
¥es °__
33e. Total average monthly payment. Add lines 33a through 33d. ......................................... $ 0.00 :::;y_;°tal $ 0-00

 

 

 

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Debw,, NADlNE RouNDTREE TROMBACCO Casenumbe,(,,wwn, ic-bk-ooies-KSJ

Fir!t Name Middie Name Last Name

 

 

34. Are any debts that you listed in line 33 secured by your primary residence, a vehicle, or other property necessary
for your support or the support of your dependents?

No. Go to line 35.

m Yes. State any amount that you must pay to a creditorl in addition to the payments listed in line 33, to keep
possession of your property (cal|ed the cure amount). Next, divide by 60 and fill in the information below.

Name of the creditor |dentify property that Total cure Monthly cure amount
secures the debt amount

$ 0.00 +60= s 0.00

 

$ 0.00 +60= $ 0.00

 

$ 0.00 + 60 = + $ 0.00

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

_..mm,.,,,.W..MMW,~__.,,tom Copy
Total $ 0.00 total $ 0.00 v
here+ ~
35. Do you owe any priority claims-such as a priority tax, child support, or allmony- that are past due as of
the filing date of your bankruptcy case? 11 U.S.C. § 507.
No. Go to line 36.
m Yes. Fill in the total amount of all of these priority claims. Do not include current or
ongoing priority claims, such as those you listed in line 19.
Total amount of all past-due priority claims. . ................................................................... $ 0.00 + 60 $ 0~00 `
36. Projected monthly Chapter 13 plan payment 5 0.00
Current multiplier for your district as stated on the list issued by the Administrative
Oince of the United States Courts (for districts in Alabama and North Caroiina) or by
the Executive thce for United States Trustees (for all other districts). X 0
To find a list of district multipliers that includes your district, go on|ine using the link '_"_
specified in the separate instructions for this form, This list may also be available at the
bankruptcy clerk‘s ofhce.
WM,W§ Copy
Average monthly administrative expense $ 0.00 total 5 0.00
sr Add all or the deductions for debt payment Add lines 33e through 36. $ 0_00
i_
Total Deductioris from income §
38. Add all of the allowed deductions
§
Copy line 24, All of the expenses allowed under lRS expense allowances ................................... $ O»OO
Copy line 32, All of the additional expense deductions ...................................................................... $ O~OO
g
Copy line 37, All of the deductions for debt payment ......................................................................... + $ O-OO
Copy
Total deductions ........................................................................................................................................ $ 000 total $ O-OO §
here -)

 

 

 

 

 

Oflicial Form 1220-2 Chapter 13 Calculatlon of Your Disposable income page 6

 

 

 

 

Debtor 1

Part 2:

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NADlNE ROUNDTREE TROMBACCO

First Name Middle Name Last Name

 

Determlne ¥our Dlsposablo lncome Under 11 U.S.C. § 1325(b)(2)

Case number (ir/<nowni

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39. Copy your total current monthly income from line 14 of Form 1226-1, Chapter 13 $ 0_00
" Statement of Your Cun'ent Monthly lncome and Calcu|ab'on of Commitment Period. ...................................................................
40. Fill in any reasonably necessary income you receive for support for dependent
' children. The monthly average of any child support payments, foster care payments, or
disability payments for a dependent ohiid, reported in Part l of Form 1220-1, that you $ 0~00
received in accordance with applicable nonbankruptcy law to the extent reasonably
necessary to be expended for such chi|d.
41. Fill in all qualified retirement deductions. The monthly total of all amounts that your
1 employer withheld from wages as contributions for qualitied retirement plans, as s 0_00
specified in 11 U.S.C. § 541(b)(7) plus all required repayments of loans from retirement
plans, as specified in 11 U.S.C, § 362(b)(19).
; 42. Total or all deductions allowed under 11 u.s.c. § 707(b)(2)(A). copy line 38 here ____________ -) $ O-OO
43. Deduction for special circumstances if special circumstances justify additional
` expenses and you have no reasonable altemative, describe the special circumstances
and their expenses You must give your case trustee a detailed explanation of the
special circumstances and documentation for the expenses
Describe the special circumstances Amount of expense
$ 0.00
$ 0.00
+ 5 0.00
70 emmett M_u copy we
i . .00
; 44. Total adjustments. Add lines 40 through 43. .................................................................................... *; $ 0 Oog§copy here9 - $ 0
45. Caiculate your monthly disposable income under § 1325(b)(2). Subtract line 44 from line 39. $ O'OO
Change ln lncome or Expenses
46 Change in` income or expenses. lf the' income in Form 1220-1 or the expenses you reported in this form have changed
t or are virtually certain to change after the date youl f led your bankruptcy petition and during the time your case will be
open till iri the information below. For example if the wages reported increased after youl filed your petition check
1220-1 in the iirst column, enter line 2 iri the second column, explain why the wages increasedl till in when the increase
occurred, and till in the amount of the increase.
Form Line Reason for change Date of change tncrease or Amount of change
decrease?
5 1220-1 |:| increase O_ 00
1220-2 Decrease
§ 122c-1 |:|increaee 0. OO
1220-2 Decrease
m 1226_1 Elncrease U.OO
1220-2 Decrease
§ 1220-1 Elncrease 0.00
1220-2 Decrease
Ol’iicial Form 1220-2 Chapter 13 Calculation of ¥our Disposable income page 7

 

 

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Debtor1 NADlNE ROUNDTREE TROMBACCO 16-bk-00188-KSJ

First Name Middle Name Last Name

Case number (irknown>

 

 

§By signing here under penalty of perjury you declare that the information on this statement and in any attachments is true and correct.

»»%AQMMMW x

 

Signature of Debtor 1 Signature oi‘ Debtor 2
Date 02/08/2016 Date
MMl DD lYVYY MMl DD /YVYY

 

 

Ofticial Form 122C-2 Chapter 13 Calculation of Your Disposable lncome

 

